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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                         Chapter 11

    Peer Street, Inc., et al.,1                                    Case No. 23-10815 (LSS)

                                        Debtors.                   (Joint Administration Requested)

                                                                   Ref. Docket Nos. 18, 71, 107, 135 & 189

                 DEBTORS’ OMNIBUS REPLY TO OBJECTIONS TO BIDDING
                   PROCEDURES AND CASH MANAGEMENT MOTIONS:
                            DOCKET NUMBERS 11 AND 18

                    The     above-captioned        debtors      and     debtors     in    possession      (collectively,

the “Debtors”)2 hereby submit this omnibus reply (the “Reply”) to the objections filed by Pacific

Funding Trust 1002 and Pacific RBLF Funding Trust (together, “Colchis”) (the “Colchis

Objection”) [Docket No. 189],3 Sean Banchik (“Banchik”) [Docket No. 182] (the “Banchik

Joinder”),4 Jax SFH Properties, LLC (“Jax”) (the “Jax Objection”) [Docket No. 71], Sean Quinn

[Docket No. 107] (the “Quinn Objection”) and Sean Tarpenning [Docket No. 135]

(the “Tarpenning Objection,” and collectively with the Colchis, Jax and Quinn Objections and

the Banchik Joinder, the “Objections”) to the Debtors motion seeking approval of, inter alia,



1
      The Debtors in these chapter 11 cases, along with the last four digits of their respective federal tax identification
      numbers, are: Peer Street, Inc. (8584); PS Funding, Inc. (3268); PeerStreet Licensing, Inc. (9435); Peer Street
      Opportunity Fund GP, LLC (8491); Peer Street Funding LLC (9485); PSF REO LLC (1013); PS Options LLC
      (8584); PS Warehouse, LLC (5663); PS Warehouse II, LLC (9252); Peer Street Opportunity Investors II, LP
      (1586); PS Portfolio-ST1, LLC (1868); PSF Ohio, LLC (9485); PSF TX 1, LLC (9485); PSF TX 2, LLC (2415);
      PSF TX 4 LLC (9485). The Debtors’ service address is c/o Province, LLC 2360 Corporate Circle, Suite 340,
      Henderson, NV 89074, Attn: David Dunn, Chief Restructuring Officer.
2
      Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the glossary
      attached hereto as Exhibit A (the “Glossary”). The exhibits referenced in this Reply are listed in the Glossary.
3
      This reply also replies to those aspects of the Colchis Objection that object to the Cash Management Motion (as
      defined in the Colchis Objection.).
4
      To the extent any other joinders are filed joining any of the Objections that merely join in the objections already
      lodged, the arguments set forth in this Reply shall be applicable to such joinders.
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         bidding and sale procedures (the “Bid Procedures Motion”) [Docket No. 18]. In support of this

         Reply, the Debtors respectfully state as follows:

                                               PRELIMINARY STATEMENT

                           1.       As a threshold matter, the Court can and should approve the Bid Procedures

         Motion so the Debtors can formally launch the marketing and sale process for the Underlying

         Loans. Colchis’s “you can’t sell what you don’t own” argument fails to disclose to the Court that

         the underlying contractual agreements between the Debtors and Colchis (and all of the

         noteholders) expressly allow the Debtors to do so without the consent of Colchis or any other

         noteholder. All of the Debtors’ promissory note products tied to the Underlying Loans contain

         substantively identical sale provisions:

                           Company may sell, convey, assign or otherwise transfer (a) all or
                           any part of the corresponding mortgage loan or (b) any interest in
                           the corresponding mortgage loan, whether any such sale,
                           conveyance, assignment or other transfer occurs directly or
                           indirectly, voluntarily or involuntarily or by operation of law,
                           without the prior written consent of the Investor.


         Thus, at the time of its investment, Colchis and all the other Investors agreed that the Debtors could

         do precisely what is proposed in the Bid Procedures Motion without the need to obtain their

         consent. Neither the bankruptcy filing nor the caselaw cited by Colchis changes that.5

                           2.       Colchis, with its affiliates, is a highly sophisticated specialist alternative

         investment firm that “has invested approximately $6 billion in more than 500,000 digital loans

         since 2011, according to its website.”6 Colchis has transacted hundreds of millions of dollars


         5
              If anything, the bankruptcy filing enhanced the Debtors’ rights to do so. As noted by the Debtors’ counsel at the
              August 4th status conference in these cases, 11 U.S.C. § 363 permits the Debtors to sell the Underlying Loans
              despite Colchis’s unresolved participation claim.
         6
              Lawrence Delevingne, Exclusive: Eyeing defaults, U.S. direct lender Colchis Capital to shut funds, Reuters (Apr.
              7, 2023), https://www.reuters.com/article/us-health-coronavirus-colchiscapital-exc/exclusive-eyeing-defaults-u-
              s-direct-lender-colchis-capital-to-shut-funds-idUSKBN21P21X
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         ($100,000,000s) with the Debtors. Notwithstanding, Colchis frames its objection almost entirely

         around three non-specific statements quoted from FAQ responses on the Debtors’ website (two of

         which describe the notes and one of which describe the Debtors’ corporate structure) rather than

         the dozens and dozens of pages of actual legal documents governing the Debtors’ financial

         commitments to Colchis, which Colchis affirmed it read, understood and agreed to. Nowhere in

         the Colchis Objection does Colchis quote any of the documents, let alone the Peer Street Notes

         themselves,7 or offer the Court copies thereof, because the clear and unambiguous language set

         forth therein demonstrates the opposite of what it wants the Court to believe. Simply stated, the

         Peer Street Notes are unsecured promissory notes. The MPDNs expressly state what they are,

         what each party is receiving thereunder, and what each party is not getting, including the absence

         of any secured claim, property interest, trust rights, etc.

                          3.       Nor does Colchis reveal its complex, extensive and long-time commercial

         relationship with the Debtors as a substantial investor, whole-loan purchaser, and warehouse

         financier. Instead, this sophisticated, multi-billion dollar commercial actor wants the Court to

         believe its “aw shucks” argument that it looked at the Debtors’ website, liked what it saw, and

         gave them $38 million.

                          4.       Colchis’s motivation in attempting to “blow up” the Debtors’ sale process

         must be scrutinized. Since April of 2023, the Debtors and Colchis have been in on-again, off-

         again discussions regarding a potential transaction that would be an alternative to the pending

         marketing and sale of the underlying mortgage assets and REO properties. As Colchis puts it, it

         has “proposed various plan structures to the Debtors” to be sponsored by Colchis. As plan sponsor,




         7
              Colchis holds no RWNs, yet gratuitously argues that they, too, are something other than redeemable limited
              recourse promissory notes. See Colchis Obj. at 8, n.5.
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         Colchis is positioned to ensure maximum value for its investments, while extracting management

         fees from the Debtors’ loan portfolio at the expense of all of the Debtors’ other creditors. In those

         discussions, Colchis has never expressed the view that the MPDNs constitute participations.

         Indeed, the “plan structures” Colchis refers to depend on the Debtors actually owning the

         Underlying Loans and, despite Colchis’s complaints to the contrary, require a chapter 11

         bankruptcy. Thus far, no actionable transaction has emerged, much less one that the Debtors

         believe will yield a greater recovery than a thorough marketing process overseen by an expert in

         the industry, Piper Sandler. And forcing a delay in the sale process may jeopardize the Debtors’

         ability to expeditiously exit chapter 11 in a value maximizing way and leave the Colchis-sponsored

         plan as the Debtors’ only alternative, putting Colchis in prime position to set its price and extract

         as much value out of the Debtor’s loan portfolio for itself as possible and to the detriment of all

         other holders.

                          5.    Prior to filing its objection – and in an effort to avoid the disruption it would

         cause – the Debtors repeatedly informed Colchis of three critical points. First, should an actionable

         transaction emerge (including from Colchis) that would yield a greater return to creditors than the

         pending Piper Sandler-run sale process, the Debtors are more than willing to pivot to such a

         transaction. Second, if such a transaction emerges, the Piper Sandler-run marketing and sale

         process is still beneficial to demonstrate that the value proposed by such a transaction is the best

         recovery possible for creditors. Without it, the Court will have nothing with which to compare

         such a transaction.    And finally, there’s the possibility that such an actionable alternative

         transaction never emerges, in which case, unless the Debtors proceed with sale process now, they

         will have squandered their time in chapter 11 making little progress.




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                           6.       The Debtors believe that under any scenario, the proposed sale process is

         necessary. Whether the Debtors sell their underlying mortgage loan assets to a highest bidder or

         utilize the sale process results to demonstrate the value of an alternative sale transaction, the sale

         process offers significant benefits to the Debtors and all of their stakeholders. It should therefore

         be approved.

                                                THE DEBTORS’ BUSINESS

         I.         THE PEER STREET BUSINESS

                           7.       Peer Street’s business focused on enabling accredited investors, funds, and

         institutions to access certain real estate-related debt investments that were historically difficult to

         invest in, and permits lenders and borrowers to access capital that has been historically difficult

         for them to access.8 To be an accredited investor, individuals must have a net worth exceeding $1

         million (excluding the value of their primary residence) or have earned income of over $200,000

         (or $300,000 if including a spouse of partner) for the current and prior two years. For entities to

         qualify as accredited investors, they must hold assets totaling over $5 million. Peer Street

         introduced the first and largest two-sided online marketplace for investing in and funding real

         estate debt.9 On one side of the marketplace, Peer Street provided individual investors with access

         to an alternative asset class (investments in mortgage loans) that was previously difficult to access,

         while on the other side of the marketplace, it provided capital to real estate lending businesses and

         their borrowers (through funding or acquisition of mortgage loans).10

                           8.       Prior to the Petition Date, Debtor PSFI originated or acquired mortgage

         loans itself or through a network of lenders and brokers by (i) purchasing loans or participations


         8
              Exhibit 1, Dunn Decl., [Docket No. 3] ¶ 10.
         9
              Id. ¶ 11.
         10
              Id.
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         in loans originated by the third-party lenders and brokers, (ii) table funding loans11 on behalf of

         the third-party lenders and brokers, or (iii) funding loans directly to borrowers sourced through the

         third-party lenders and brokers (i.e., the Underlying Loans).12

                            9.         In the early stages of PSFI’s existence, the capital to fund or acquire the

         Underlying Loans came from one of two sources: (a) warehouse financing provided by third-party

         lenders, including Colchis; or (b) the purchase of (or commitment to purchase) participation

         interests in the Underlying Loans from PSFI by its affiliate, Debtor Funding LLC.13 The cash

         Funding LLC used to purchase these participations was raised through the issuance of MPDNs, as

         discussed in more detail below.14 Where MPDNs were the source of capital for the initial

         origination or acquisition, Underlying Loans may not have been originated or acquired if Funding

         LLC was unable to timely issue sufficient MPDNs to fully fund the origination or acquisition

         before the anticipated closing.15

                            10.        Later, the capital sources available to PSFI to originate or acquire

         Underlying Loans were expanded to include (a) cash provided to PSFI by Debtor Warehouse I

         LLC and Debtor Warehouse II LLC, as warehouse financing,16 (b) cash lent to PSFI from its


         11
              “Table funding” means a transaction in which the loan originator conducts a mortgage loan closing in the loan
              originator’s name, but does not use its own cash to fund the loan. At loan closing, a third-party capital provider
              provides funds for the loan, the loan originator automatically assigns the mortgage loan to the third party. See 12
              CFR § 1024.2(b); see also Candice Sparks, Guide to Table Funding, Peer Street (2021).
         12
              Exhibit 1, Dunn Decl. ¶ 15. The average Underlying Loan is a short-term, high-yield loan, predominantly business
              purpose loans that are bridge loans, fix-to-rent, or fix-to-flip. The Underlying Loan is a first lien mortgage loan
              generally with a term of one to three years. The properties covered by the Underlying Loans are all commercial
              properties or residential non-owner occupied properties. None of the Underlying Loans involve owner-occupied,
              long-term residential loans.
         13
              Id. ¶¶ 15-18; Exhibit 2, Portfolio LLC Loan Mgmt. Agreement § 6 at 4.
         14
              See infra, Part III.A.
         15
              See infra, Part III.A.
         16
              While structured as the purchase of participation interests, rather than loans issued to PSFI, the Warehouse Entities
              were intended to provide short term liquidity to PFSI. For Warehouse I LLC, participations owned by the
              Warehouse Entities would be sold or repurchased by PSFI within 90 days. See Exhibit 3, Pocket 1 Month RWN
              Suppl. at 4; Exhibit 4, Warehouse I LSA at 5 (definition of “Disposition Deadline”). For Warehouse II LLC, at
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         affiliate Debtor Opp Fund, as warehouse financing,17 and (c) cash provided to PSFI by Debtor

         Portfolio LLC that was used to purchase Underlying Loans, or participations therein, from PSFI.

         The cash from Portfolio LLC was raised through the issuance of PDNs, as discussed more fully

         below. The cash from the Warehouse Entities came from credit facilities between each Warehouse

         Entity and Funding LLC.18 The cash used by Funding LLC to fund those credit facilities was

         raised through the issuance of RWNs, as discussed more fully below.19 The cash used by Opp

         Fund to honor borrowing requests from PSFI came from cash on Opp Fund’s balance sheet raised

         from the sale of limited partnership interests in Opp Fund, as discussed more fully below.20

                            11.       Where PSFI purchased Underlying Loans using warehouse financing

         (either from third-party financiers, Opp Fund or the Warehouse Entities), PSFI would seek to

         (a) sell the Underlying Loans to third-parties, (b) offer Funding LLC the opportunity to acquire a

         100% participation interest in the Underlying Loan (or a series thereof), or (c) offer Portfolio LLC

         the opportunity to acquire a participation interest in or outright purchase the Underlying Loan.21

         The proceeds from these Underlying Loans would then be available to acquire additional

         Underlying Loans or to repay the applicable warehouse financing, including the Warehouse

         Entities and Opp Fund, as required by the terms of the underlying credit facilities.22




              least 50% of the participation interests were required to be disposed of within 120 days. Exhibit 5, Warehouse II
              LSA at 5 (definition of “Disposition Deadline”).
         17
              In some instances Opp Fund would invest alongside PSFI by purchasing participations in, or outright purchasing
              portions of, Underlying Loans PSFI was acquiring. See Exhibit 14, Opp Fund PPM at 2-3.
         18
              See id.
         19
              See infra, Part III.B
         20
              Exhibit 14, Opp Fund PPM at 4-5; see infra, Part III.B.
         21
              Exhibit 6, Warehouse I Participation Agreement at 1; Exhibit 7, Warehouse II Participation Agreement at 1.
         22
              See generally id.
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                            12.      PSFI is the master servicer for all of the loans owned or participated in by

         the various Debtors.23 As of August 14, 2023, there are approximately 334 Underlying Loans in

         which the Debtors have an interest.

                       •    Portfolio LLC only has an interest in a single loan that it wholly-owns and has not
                            participated interests in.

                       •    The remaining 333 are legally owned by PSFI.

                       •    Funding LLC has participation interests in 315 of 333 Underlying Loans owned
                            by PSFI. Of these 315 loans, for 276, Funding LLC is the only Debtor with
                            participation interests in such loans.

                       •    Warehouse I LLC has participation interests in 9 Underlying Loans.

                       •    Warehouse II LLC has no interests in any Underlying Loans.

                            13.      PSFI’s rights as servicer and owner of the Underlying Loans and

         participations therein is discussed more fully in Part IV of this section below.

         II.       BECOMING A PEER STREET INVESTOR

                            14.      Peer Street provided access to its investment products through an online

         marketplace (i.e., the Platform).24 The investor experience began by visiting www.PeerStreet.com,

         where prospective investors could click the “Get Started” button at the top of the homepage (and

         displayed in various other parts of the website)25 to create an account. Once users successfully

         created an account (such a user referred to herein as an Investor), including verifying that they met

         the financial requirements to be accredited investors, they gained access to the Platform. The




         23
               See generally Exhibit 19, Funding LLC Participation Agreement; Exhibit 9, Portfolio LLC Participation
               Agreement; Exhibit 6, Warehouse I Participation Agreement; Exhibit 7, Warehouse II Participation Agreement.
         24
               Peer Street also offered investments in the limited partnership interests of Opp Fund. These investments were
               not in the Form of Notes and were not offered through the Platform. A discussion of Opp Fund is included in the
               Appendix.
         25
               The link is www.PeerStreet.com/users/sign_up. New account creation has been suspended since the chapter 11
               cases were commenced. Peer Street stopped accepting deposits on the Platform on May 3, 2023.
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         Platform was used to communicate offers to Investors to invest in Peer Street’s various products

         and allows Investors to manage their investments made through the Platform.26

                           15.      When creating an account, each Investor was required to agree to Peer

         Street’s terms of service27 which, among other things, state:

                           In addition to these Terms, you are bound to the terms of each other
                           agreement to which you agree as a user of the Site and the Services,
                           including, without limitation, the terms of the Investor Agreement,
                           the Private Placement Memorandum for the Notes, the Consent to
                           Electronic Transactions and Disclosures, your Representations
                           Regarding Use of the Platform, and any Series Note Listing (as
                           defined in the Private Placement Memorandum) for a series of Notes
                           in which you invest.28

                           16.      Investors began the investment process by depositing funds into the

         Platform. For most Investors, those funds were deposited into the Retail FBO Account, a “for the

         benefit of” account maintained, by Peer Street, at Wells Fargo for all individual Investors.29 Each

         Investor would then be able to use their funds on deposit in the respective Retail FBO Account to

         invest in Peer Street’s investment products.30 The Retail FBO Account was also the account where

         the proceeds of the Peer Street Notes (the payment of interest or return of principal) were

         deposited.31 Prior to the Petition Date, Investors were freely able to withdraw their own funds on




         26
              Exhibit 1, Dunn Decl. ¶¶ 12-16.
         27
              Peer Street’s terms of service are specifically linked from the new user sign-up page and available from a link
              appearing at the bottom of the site. The terms of service are accessible at www.peerstreet.com/content/terms.
         28
              Terms of Service, Peer Street, https://www.peerstreet.com/content/terms (last visited Aug. 16, 2023) (emphasis
              added).
         29
              Cash Mgmt. Motion, [Docket No. 11] ¶ 5(c). Certain institutional Investors were offered Institutional FBO
              Accounts that were opened for the sole benefit of such Investor and into which proceeds of their Peer Street Notes
              were deposited. For these institutional Investors, they directly funded investments to Peer Street
              contemporaneous with the closing of the acquisition of their Peer Street Notes. Exhibit 22, Colchis Framework
              Agreement, Article 2 at 8.
         30
              See Cash Mgmt. Motion [Docket No. 11] ¶ 5(c).
         31
              Id.
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         deposit in the Retail FBO Accounts, although that ability has been suspended since the

         commencement of these chapter 11 cases.32

                            17.      To make an investment in Peer Street Notes, Investors were required to

         agree to Peer Street’s Investor Agreement.33 Investors were required to review and affirmatively

         confirm their understanding of, and agreement to, the Investor Agreement through the Platform.34

                            18.      The Peer Street Notes are also governed by the PPM.35 Each specific Peer

         Street Note type (i.e., MPDNs, RWNs and PDNs) issued after December 2, 2019 is subject to its

         own Supplement to the PPM.36 In the Investor Agreement, each Investor agreed that it had read,

         understood, and was bound by the applicable PPM and Supplement in connection with the

         purchase of any Peer Street Note.37



         32
              Exhibit 1, Dunn Decl. ¶ 22.
         33
              An initial Investor Agreement was prepared in 2014, and a revised Investor Agreement was published in 2019.
              The 2014 Investor Agreement (Exhibit 10) is only with Debtors PSI and Funding LLC and governs MPDNs
              issued by Funding LLC before December 2, 2019. The 2019 Investor Agreement (Exhibit 11) applies to each
              “PS Issuer,” which is Funding LLC for the MPDNs and RWNs, and Portfolio LLC for the PDNs.
         34
              See Exhibit 10, 2014 Investment Agreement, Recital (“Each time you submit a purchase order through the
              PeerStreet Platform, you are (a) accepting and agreeing to the following terms, (b) accepting and agreeing to the
              PeerStreet.com Terms of Use and PPM, (c) agreeing to transact business with us and receive communications
              relating to the Notes electronically, and (d) agreeing to have any dispute with us resolved by binding arbitration.”);
              Exhibit 11, 2019 Investor Agreement (“Each time you deposit funds or invest through the PeerStreet Platform
              (including through the Automated Investing program, as defined below), you are, without limitation, (a) agreeing
              to the terms of this Agreement, (b) accepting and agreeing to the PeerStreet.com Terms of Use and PPM, (c)
              agreeing to transact business with us and receive communications relating to the Notes electronically, and (d)
              agreeing to have any dispute with us resolved by binding arbitration.”).
              The 2014 Investor Agreement includes an acknowledgement that the investor has reviewed and understood the
              applicable offering documents, including the Investor Agreement. See Exhibit 10, 2014 Investor Agreement,
              Recital (“You acknowledge that this Investor Agreement, along with the PPM has been delivered to you via the
              Platform, and that you have read and understood each document.”); Exhibit 11, 2019 Investor Agreement ¶ 6(a)
              (“You represent, warrant, and covenant, as of the date of this Investor Agreement, that: (a) You have received,
              read and understand all of the Offering Materials (including the Transaction Documents and the risk factors set
              forth in the PPM and the PPM Supplement(s) for the types of Real Estate Securities in which you seek to
              invest).”).
         35
              The PPM was initially issued in 2014, and that version applies only to the MPDNs issued before December 2,
              2019, and a revised PPM was issued in 2019 and applies to all Peer Street Notes issued after December 2, 2019.
         36
              See generally Exhibit 12, 2019 PPM.
         37
              See supra, note 34.
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         III.       THE PEER STREET NOTES OFFERED ON THE PLATFORM

                             19.      Once an Investor was registered with the Platform and had deposited funds

         into the applicable Retail FBO Account, the Investor was able to invest its funds in any of three

         separate types of Peer Street Notes offered through the Platform.38 Peer Street Notes were offered

         in principal amounts as small as $1,000 (and in certain instances, investments in individual

         MPDNs could be less than that), and more than 68,000 Peer Street Notes are outstanding (just

         under 67,000 of those being MPDNs) with more than 8,000 unique Investors as noteholders.39

                             20.      As reflected in the Investor Agreement, each of the Peer Street Notes is a

         limited recourse, unsecured promissory notes conveying no ownership interest in Underlying

         Loan:

                             You also agree and acknowledge that you do not have any direct
                             interest in the Underlying Investments, and that, unless explicitly
                             provided otherwise, you do not have any voting rights and/or
                             decision-making authority beyond your decision to invest or not
                             invest in the Real Estate Securities. Without limiting the generality
                             of the foregoing, any borrower or lender partner who receives a loan
                             or funds from PeerStreet has a legal relationship with PeerStreet
                             only and obligations only to us. Although payments on your Real
                             Estate Securities depend on the performance of the Underlying
                             Investments, you do not own any direct, secured, and/or recorded
                             interest in the Underlying Investment itself.40

                             21.      The terms of the MPDNs are summarized herein and the terms of the RWNs

         and PDNs are summarized in appendix attached hereto (the “Appendix”).




         38
                See supra, note 34.
         39
                See generally Exhibit 13, MPDN Suppl.; Exhibit 14, Opp Fund PPM.
         40
                Exhibit 11, 2019 Investor Agreement ¶ 21.
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                  A.       Mortgage Payment Dependent Notes Issued by Funding LLC

                           22.      Peer Street, through Funding LLC, offered mortgage payment dependent

         notes (or MPDNs) to Investors through the Platform.41 The terms of the MPDNs are set forth in

         the applicable PPM, MPDN Supplement (if applicable), the MPDN itself and the Series Listing

         for the Underlying Loan with which each MPDN was associated, which were each required to be

         accepted and agreed to as condition to the purchase of any MPDN.42

                           23.      Each MPDN is associated with a particular Underlying Loan, which

         Underlying Loan may have been offered for investment on the Platform in Series.43 For example,

         PSFI may have originated an Underlying Loan on 123 Main Street with a principal balance of

         $750,000 using warehouse financing.                Peer Street then may have placed an initial Series

         corresponding to $500,000 of principal amount on the Platform for fractional investors to invest

         in. If sufficient funding was raised, Funding LLC would issue $500,000 of 123 Main Street-Series

         1 MPDNs, and use those funds to purchase from PSFI a participation interest in $500,000 of

         principal balance of the Underlying Loan (referred to as 123 Main Street-Series 1) and the

         applicable warehouse financing entity would retain a participation interest in $250,000 of principal

         balance of the Underlying Loan (referred to as 123 Main Street Series 2). In the future, Peer Street

         may have placed some or all of 123 Main Street Series 2 on the Platform for fractional investors

         to invest in, and would have issued 123 Main Street Series 2 (and Series 3, Series 4, et c.) MPDNs

         once each offering was fully committed.




         41
              Exhibit 11, 2019 Investor Agreement ¶ 21; Exhibit 1, Dunn Decl. ¶ 16.
         42
              See supra, note 34.
         43
              The MPDN Supplement defines an Underlying Loan as “a specific mortgage loan that one or more lenders
              requested to be funded and/or that is originated, purchased or co-invested in by PeerStreet. Such loans may be
              senior, junior, tranched, or otherwise vary in priority, term, and other conditions.” Exhibit 13, MPDN Suppl. at
              2.
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                             24.    Underlying Loans (or series thereof) were placed on the Platform to solicit

         investments in MPDNs associated with the particular loan/series through a Listing that provided

         various information concerning the Underlying Loan and MPDN, such as (a) the aggregate amount

         of the Underlying Loan, (b) whether there were multiple series for the Underlying Loan and the

         amount in the applicable series, (c) the interest rate paid to Peer Street on the Underlying Loan,

         (d) the interest rate being offered for the investment, (e) the priority of the Underlying Loan, (f)

         information about the originating lender or broker and the borrower, and (g) other information that

         may be relevant to an Investor’s assessment of the risk associated with the Underlying Loan and

         MPDN.44 A particular Underlying Loan could have multiple series associated with it. Importantly,

         different series associated with the same Underlying Loan can have different yields and priorities,

         thus MPDN holders with interest in the same Underlying Loan can earn different returns from one

         another and from the Underlying Loan.45 MPDNs were only issued once the applicable series for

         the associated Underlying Loan was fully subscribed.46 MPDNs were made available to the

         respective Investors in electronic form through the Platform.47

                             25.    As noted above, the funds raised by Funding LLC through the issuance of

         MPDNs were used by Funding LLC to purchase from PSFI participation interests in individual

         Underlying Loans.48 In economic terms, payment of principal or interest on the MPDNs was



         44
              Example Listings are attached as Exhibit 15. See Exhibit 13, MPDN Suppl. at 2 (“Each time we offer a Series of
              MPDNs, we will also prepare a Listing—which will be posted to the PeerStreet Website—with specific terms for
              and relevant information about that Series of MPDNs, the terms of the Underlying Loan, the lender and the
              borrower, the priority of the Underlying Loan, and the nature of any security interest (if any) in the Underlying
              Loan.); see also id. at 2-9 (indicating various matters that will be disclosed in the Listing).
         45
              Exhibit 13, MPDN Suppl. at 13-14.
         46
              Id. at 2-3.
         47
              The form MPDN is an exhibit to the MPDN Supplement. An exemplar MPDN note, with borrower name
              redacted, is attached as Exhibit 16.
         48
              Exhibit 16, Exemplar MPDN Note; see supra, note 34.
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         dependent on the performance of the specific Underlying Loan associated with the MPDN, a fact

         that was clearly disclosed in the offering materials for the MPDNs.49 While the holders of MPDNs

         are paid from proceeds of the Underlying Loan received by Funding LLC, Funding LLC also had

         the right to make “advances when, in its sole and absolute discretion, it determines in good faith

         that making these advances will ultimately be the most effective course of action with respect to

         the returns on an Underlying Loan” and “[Funding LLC] shall be entitled to recover such advances

         prior to any payments being made to Investors.”50

                           26.      The offering documents for the MPDNs make clear that Investors

         purchasing MPDNs were purchasing promissory notes from Funding LLC and that those notes

         are special, limited, unsecured obligations of Funding LLC only.51 Nothing in the offering

         documents for the MPDNs purport to convey any property interests, as security or otherwise, in




         49
              See Exhibit 13, MPDN Suppl. at 4 (“Neither PSFLLC nor PeerStreet has any obligation to make any payments
              on MPDNs, unless, and only to the extent that, PeerStreet has received payments from the applicable borrower
              on that Underlying Loan, net of any applicable fees and expenses.”); see also Exhibit 11, 2019 PPM I at 14;
              Exhibit 18, 2014 PPM at ii, 9; Exhibit 13, MPDN Suppl. at 5, 6, 10-11, 20 (Form of Note: Master Mortgage
              Dependent Note, § 1), 21 (Form of Note § 4), 23 (Form of Note § 15).
         50
              See Exhibit 13, MPDN Suppl. at 8; see also id. at 21 (Form of Note § 3.2) (“[Funding LLC] Company will, at its
              sole discretion, advance any and all amounts necessary to protect its interest in the corresponding mortgage loan,
              including (without limitation) foreclosure fees and related costs as well as payments necessary to pay property
              taxes, senior liens, junior liens, and other fees and costs Company deems necessary to protect its position in the
              corresponding mortgage loan (the “Company Advances”) . . . . Any amounts paid to the Company under the
              corresponding mortgage loan shall be payable as follows: (1) to the Company, to recoup the Company’s
              Advances, (2) to the Company or third parties for any fees and costs allowed to be charged under the
              Memorandum and the MPDN Supplement to the Memorandum and (3) the balance, if any, pro rata to the Investors
              of the Notes.”).
         51
              See id. at 13 (“MPDNs will not represent an obligation of the borrower, original lender or any other third party
              except PSFLLC.”), 20 (Form of Note § 1) (“This Note represents a special limited obligation of the Company,
              and (1) no payments of principal and interest on this Note shall be payable unless the Company has received
              payments relating to the corresponding mortgage loan, and then only to the extent of the amount of such payments
              received by the Company (less any fees and costs allowed to be charged under the MPDN Supplement to the
              Memorandum), and (2) no Investor of this Note shall have any recourse against the Company unless, and then
              only to the extent that, the Company has received payment relating to the corresponding mortgage loan and has
              failed to pay such Investor their pro rata share of the payments that the Company actually received under the
              corresponding mortgage loan (less any fees and costs allowed to be charged under the MPDN Supplement to the
              Memorandum)”); see also supra, note [15]; Exhibit 12, 2019 PPM at 14; Exhibit 13, MPDN Suppl. at 6, 23 (Form
              of Note); Exhibit 10, 2014 PPM at ii, 2, 6, 11-12, 26.
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         connection with issuing the MPDNs. To the contrary, the offering documents clearly state that no

         property interest in the Underlying Loans (or any assets of any Peer Street entity) are created by

         issuance of the MPDNs.52 Moreover, the form MPDN makes clear that (x) Funding LLC can sell

         an Underlying Loan (or interest therein) associated with an MPDN at any time and (y) the MPDN

         holder’s consent to make such a sale is not required.53

                           27.       In practice, as described below, Funding LLC acquired interests in

         Underlying Loans by purchasing a 100% participation interest in Underlying Loans from its

         affiliate PSFI, with PSFI – and not Funding LLC or the MPDN holders – retaining the rights to

         administer the Underlying Loans.54 The MPDN holders had no contractual privity with the

         borrowers of the Underlying Loans, nor with PSFI as the legal owner and servicer of the

         Underlying Loans.55 The MPDNs also make clear on their face that the right to payment thereon

         is wholly dependent on Funding LLC receiving payments for the associated Underlying Loan.56


         52
              Exhibit 13, MPDN Suppl. at 5 (“Investors in MPDNs will not have any security interest in the assets of PSFLLC,
              PSFI, PeerStreet, any borrower or lender, any Underlying Loan, any proceeds from any Underlying Loan or in
              the assets of any borrower or lender (including any PSI affiliate acting as lender) associated with any Underlying
              Loan.”), 9 (“MPDNs will be limited, unsecured obligations of PSFLLC only and are not obligations of any
              borrower or lender (including any PSI affiliate acting as lender) associated with any Underlying Loan”), 13;
              Exhibit 12, 2019 PPM at 14 (“Returns on the Real Estate Securities are special, limited, unsecured obligations
              of the PS Issuer that depend entirely on the performance of one or more Underlying Investments . . . . Although
              your investment in a given Series may be tied to the performance of a secured real estate loan (such as a mortgage)
              or another equity or debt investment, the Real Estate Securities you purchase are derivative investment product
              that do not grant you actual, legal, recorded or unrecorded, interests in the Underlying Investment
              itself.”(emphasis in original)); Exhibit 18, 2014 PPM at 6 (“Holders of Notes will not have a security interest in
              the assets of PeerStreet or any of its PSI affiliates, the corresponding loan investment, the proceeds of that
              investment or of any underlying assets of the Borrower.”), 44 (“Our payment obligations under the Notes are
              unsecured, and Investors do not have a security interest in the corresponding loans.”); see also Exhibit 11, 2019
              Investor Agreement ¶ 21.
         53
              Exhibit 13, MPDN Suppl. at 22 (Form of Note § 6) (“Subject to compliance with the Act and applicable securities
              laws and regulations, Company may sell, convey, assign or otherwise transfer (a) all or any part of the
              corresponding mortgage loan or (b) any interest in the corresponding mortgage loan, whether any such sale,
              conveyance, assignment or other transfer occurs directly or indirectly, voluntarily or involuntarily or by operation
              of law, without the prior written consent of the Investor.”); see also id. at 6, 9.
         54
              Id. at 3, 6; see also infra, Part IV.A ¶¶ 23-24 (describing Funding LLC Participation Agreement).
         55
              Exhibit 13, MPDN Suppl. at 19.
         56
              Id. at 3, 4 (“Neither PSFLLC nor PeerStreet has any obligation to make any payments on MPDNs, unless,
              and only to the extent that, PeerStreet has received payments from the applicable borrower on that
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         IV.        THE PEER STREET ENTITIES’ INTEREST IN UNDERLYING LOANS

                              28.    In the ordinary course of Peer Street’s business, Underlying Loans were

         generally acquired, in the first instance, by PSFI. However, as described in this Part, PSFI would

         seek to sell the Underlying Loans or participations therein to other Peer Street entities to the extent

         such Underlying Loans or interests therein were consistent with the investment strategy of those

         Peer Street entities.

                    A.        Underlying Loans Associated with MPDNs

                              29.    Funding LLC acquired participation interests from PSFI in two ways. First,

         if PSFI acquired an Underlying Loan using warehouse financing, it may offer to sell an express

         100% participation interest in an Underlying Loan (or a series representing a portion of the

         principal balance thereof) to Funding LLC. Funding LLC would purchase that participation using

         funds raised from Investors who received MPDNs associated with the Underlying Loan (or series

         thereof).57 In other instances, PSFI may not have acquired loans using warehouse financing and,

         instead, relied on proceeds made available by Funding LLC at the closing of a loan origination or

         acquisition transaction.58 In that scenario, Funding LLC would purchase a 100% participation

         interest contemporaneous with closing of the Underlying Loan and the funds would be used to

         fund the loan at origination (including table funding) or pay the purchase price for an already-

         originated loan. Funding LLC’s acquisition of participations in the Underlying Loans was




               Underlying Loan, net of any applicable fees and expenses. Neither PSFLLC nor PeerStreet guarantees
               Investors will receive payments on MPDNs or that borrowers will pay PeerStreet amounts due on
               Underlying Loans, in accordance with the applicable Listing.” (emphasis in original)). Id. at 6, 14-15, 19 (“If
               PeerStreet does not receive all or part of the payments on the Underlying Loans relating to your MPDNs, you will
               not receive the full principal and interest payments that you expect to receive on your MPDNs, and you may not
               recover your original investment.”).
         57
               Id. at 4-5.
         58
               Id. at 2.
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         dependent on demand from the MPDN buyers.59 If an offering of a series of MPDNs for a specific

         Underlying Loan was not fully subscribed, Funding LLC would not acquire any participation

         interest in that loan.60

                               30.    In all of these instances, Funding LLC expressly acquired its 100%

         participation interest in the Underlying Loan from PSFI pursuant to the Funding LLC Participation

         Agreement.61 That agreement provides for PSFI to “irrevocably sell[], assign[], transfer[], and

         convey[] to” Funding LLC a 100% portion in the Underlying Loan62 with a right to “sell, assign,

         convey, pledge or make any transfer of its Participations at any time without the consent of”

         PSFI.63 The relative rights of Funding LLC and PSFI under this participation agreement are

         discussed more fully below.64 In contrast to its express participation agreement with PSFI,

         Funding LLC is party to no other express participation agreement and or any other agreements by

         which it purported to transfer its participations in the Underlying Loans to holders of Peer Street

         Notes.65




         59
              See Exhibit 18, 2014 PPM at 2; see generally Exhibit 8, Funding LLC Participation Agreement.
         60
              Exhibit 18, 2014 PPM at 2.
         61
              See Exhibit 8, Funding LLC Participation Agreement at Exhibit A; see also Exhibit 13, MPDN Suppl. at 3
              (“Though PSFLLC may directly hold Underlying Loans tied to MPDNs, it may alternatively enter into
              participation agreements with affiliated entities, who in turn hold those loans. For example, after PSFLLC
              receives investors’ investments, it may transfer those investments to its affiliate, including PSFI, in consideration
              for a whole participation interest in the Underlying Loan.”).
         62
              See Exhibit 8, Funding LLC Participation Agreement § 2.
         63
              See id. § 8.4.
         64
              See infra, Part IV.B.
         65
              See infra, Part IV.B.
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                  B.       The Terms of the Participation Agreements

                           31.      The various express participation agreements between PSFI, on the one

         hand, and Funding LLC, Portfolio LLC, and the Warehouse Entities, on the other hand, were

         similar in many key respects.

                           32.      As noted above, and in the Appendix, each of these participation agreements

         included an express conveyance and acknowledgment of the grant of a participation interest and

         conveyance of ownership from PSFI to its respective counterpart. 66 Likewise, they each expressly

         provide that PFSI “shall hold the Note, the Mortgage and the other Loan Documents for the benefit

         of all Participants.” 67 And further they obligated PSFI to collect and distribute to the participants

         all funds paid by the borrowers on the Underlying Loans:

                           Subject to Section 7.3 below, [PSFI] shall receive all sums due or
                           received from Borrower under the Note and the other Loan
                           Documents and hold the same in trust for the ratable benefit of all
                           Participants. Subject to Section 7.3 hereof, to the extent such
                           payments are made by Borrower, [PSFI] shall accept and distribute
                           such payments in accordance with Section 3.3 of this Agreement.68

                           33.      Under each of them, PSFI retained the right to “perform all of the functions

         of the lender under the Loan Documents,” including “the right, power and authority to take any

         action, or to refrain from taking any action, as [PSFI] may deem necessary or appropriate in its

         discretion to satisfy the obligations, enforce the rights, exercise the remedies and pursue any other

         benefits available under the Loan Documents or any title insurance or other insurance policy


         66
              See Exhibit 8, Funding LLC Participation Agreement § 2; Exhibit 9, Portfolio LLC Participation Agreement § 2;
              Exhibit 6, Warehouse I Participation Agreement § 2; Exhibit 7, Warehouse II Participation Agreement § 2.
         67
              See Exhibit 8, Funding LLC Participation Agreement § 3.1; Exhibit 9, Portfolio LLC Participation Agreement
              § 3.2; Exhibit 6, Warehouse I Participation Agreement § 3.2; Exhibit 7, Warehouse II Participation Agreement
              § 3.2.
         68
              Exhibit 8, Funding LLC Participation Agreement § 3.2(a); see also Exhibit 9, Portfolio LLC Participation
              Agreement § 3.3(a) (providing substantially same mechanics for PFSI to collect and distribute for ratable benefit
              of participants); Exhibit 6, Warehouse I Participation Agreement § 3.3(a) (same); Exhibit 7, Warehouse II
              Participation Agreement § 3.3(a) (same).
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         delivered or maintained in connection with the Loans” and “upon the occurrence of an Event of

         Default by Borrower under any Loan Document, [PSFI]’s exercise (or forbearance from any

         exercise) of any of its rights and remedies under the Loan Documents shall be within [PSFI]’s sole

         authority and discretion.”69

                           34.      The participations conveyed to each party, were subject to Funding LLC’s,

         Portfolio LLC’s, and the Warehouse Entities’ payment of their “Proportionate Share” of:

                           All losses, costs and expenses incurred by [PSFI] (including,
                           without limitation, attorneys’ fees and expenses) in connection with
                           (a) the purchase of the Loans, (b) the administration (including any
                           servicing fees or costs paid to any third party) or collection of the
                           Loans, (c) enforcement of any obligations of Borrower or rights or
                           remedies of [PSFI] under the Loan Documents, (d) any claim on any
                           insurance policy, lawsuit, collection activity, receivership action,
                           foreclosure, acceptance of a conveyance in lieu thereof, or (e) any
                           other exercise of any of its rights or remedies under the Loan
                           Documents (individually, an “Enforcement Action”), and all
                           amounts advanced by [PSFI] (except [PSFI]’s Proportionate Share
                           of any such advances) in accordance with this Agreement, the Loan
                           Documents or any Enforcement Action[.]70

         Funding LLC, Portfolio LLC, and the Warehouse Entities were also responsible for their

         “Proportionate Share” of expenses incurred by PSFI in the event that PSFI acquired title to any

         real property through the exercise of remedies.71

                           35.      Funding LLC and the Warehouse Entities were obligated to “promptly upon

         demand made by PSFI, . . . pay to [PSFI] such Participant’s Proportionate Share of any reasonable


         69
              See Exhibit 8, Funding LLC Participation Agreement § 3.2; Exhibit 9, Portfolio LLC Participation Agreement
              § 3.3; Exhibit 6, Warehouse I Participation Agreement § 3.3; Exhibit 7, Warehouse II Participation Agreement
              § 3.3. Where Portfolio LLC owned a majority of the participation interest in an Underlying Loan, it held certain
              administrative rights pursuant to the Portfolio LLC Loan Management Agreement. See Exhibit 9, Portfolio LLC
              Participation Agreement § 3.3(b).
         70
              See Exhibit 8, Funding LLC Participation Agreement § 4.2; Exhibit 9, Portfolio LLC Participation Agreement
              § 4.2; Exhibit 6, Warehouse I Participation Agreement § 4.2; Exhibit 7, Warehouse II Participation Agreement
              § 4.2.
         71
              See Exhibit 8, Funding LLC Participation Agreement § 5; Exhibit 9, Portfolio LLC Participation Agreement § 5;
              Exhibit 6, Warehouse I Participation Agreement § 5; Exhibit 7, Warehouse II Participation Agreement § 5.
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         expense, cost, advance or other amount incurred by PSF in connection with the administration or

         collection of the Loans or any Enforcement Action.”72 Other than a reasonableness requirements,

         the participation agreements place no limitation on the amounts payable to PSFI thereunder. Under

         each participation agreement, PSFI also had the “right to deduct sums for expenses, advances and

         liabilities referred to [in the applicable participation agreement], including, without limitation,

         expenses for and of loan servicers and other agents engaged by [PSFI]” from “any payment or

         credit to a Participant.” 73 After recovering its fees, costs and expenses from principal and interest

         collected on each Underlying Mortgage, PFSI was obligated to pay the remainder to each

         participant in accordance with their Proportionate Share.74

         V.       THE PEER STREET NOTES ISSUERS AND THEIR CHAPTER 11 FILINGS

                           36.     Funding LLC is a Delaware limited liability company. Upon information

         and belief, Funding LLC’s only third-party creditors are the holders of MPDNs and RWNs. As

         Colchis alleges, Funding LLC was formed with the intention that Funding LLC’s assets—

         participations in the Underlying Notes associated with the MPDNs and the loans issued to the two

         Warehouse Entities—would remain separate from the assets of the other Peer Street entities and,

         accordingly, beyond the reach of the creditors of the other Peer Street entities. While Funding

         LLC was thus set up as a “bankruptcy remote” entity, it was never a “bankruptcy proof” entity.



         72
              See Exhibit 8, Funding LLC Participation Agreement § 4.2; Exhibit 6, Warehouse I Participation Agreement
              § 4.2; Exhibit 7, Warehouse II Participation Agreement § 4.2. Portfolio LLC has similar provisions in its
              participation agreement, but the Portfolio LLC Loan Servicing Agreement imposed additional restrictions on
              PSFI’s costs. See also Exhibit 9, Portfolio LLC Participation Agreement § 4.2; Exhibit 2, Portfolio LLC Loan
              Mgmt. Agreement §§ 2 and 5(a).
         73
              See Exhibit 8, Funding LLC Participation Agreement § 3.3(a); Exhibit 9, Portfolio LLC Participation Agreement
              § 3.4(a); Exhibit 6, Warehouse I Participation Agreement § 3.4(a); Exhibit 7, Warehouse II Participation
              Agreement § 3.4(a).
         74
              See Exhibit 8, Funding LLC Participation Agreement § 3.3(a), Exhibit 9, Portfolio LLC Participation Agreement
              § 3.4(a); Exhibit 6, Warehouse I Participation Agreement § 3.4(a); Exhibit 7, Warehouse II Participation
              Agreement § 3.4(a).
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         Indeed, the limited liability company agreement for Funding LLC expressly provides that Funding

         LLC may seek chapter 11 protection so long as it obtains the consent of its Special Member.75

                            37.       Portfolio LLC is a Delaware limited liability company. Upon information

         and belief, Portfolio LLC’s only third-party creditors are the holders of PDNs. Like Funding LLC,

         Portfolio LLC was intended to be a bankruptcy remote (but, again, not bankruptcy proof) entity.

         Like Funding LLC, its governing documents authorize Portfolio LLC to seek chapter 11

         protection, again with the consent of its Special Member. 76

                            38.       Furthermore, the PPM expressly cautioned Investors in the Platform that

         both of the issuers of Peer Street Notes (Funding LLC and Portfolio LLC) could be the subject of

         bankruptcy proceedings, and in more than a page of single spaced text, highlighted the risks that

         the holders of Peer Street Notes would face in such a bankruptcy.77 The Supplements also include

         additional bankruptcy risks specific to each type of Peer Street Note.78

                            39.       The respective Members and Special Members of Funding LLC and

         Portfolio LLC authorized, in writing, chapter 11 filings of each entity, as required by the respective

         limited liability company agreements of each entity.79




         75
              See Exhibit 19, Funding LLC Operating Agreement § 9(j)(iv)(F) (“So long as any Investor Obligation is
              outstanding, the Member shall not cause or permit the Company to take or consent to any of the following
              actions . . . file, or consent to the filing of, a bankruptcy or insolvency petition . . . without the affirmative vote of
              the Company’s [Special Member].”).
         76
              See Exhibit 20, Portfolio LLC Operating Agreement, § 9(d)(iv) (“The Company shall not be permitted, without
              the prior, written, unanimous consent of the Special Member(s), to file for protection under bankruptcy laws,
              make an assignment for the benefit of creditors, appoint a receiver or trustee over its property, or file a petition
              under any bankruptcy.”).
         77
              See Exhibit 12, 2019 PPM at 21-22.
         78
              See Exhibit 13, MPDN Suppl. at 13; Exhibit 3, Pocket 1 Month RWN Suppl. at 15; Exhibit 21, PDN Suppl. at
              20-23.
         79
              See Case No. 23-10818, Docket No. 1 (Chapter 11 Petition with and authorizing resolutions for Funding LLC);
              Case No. 23-10825, Docket No. 1 (Chapter 11 Petition with and authorizing resolutions for Portfolio LLC).
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                            40.       Colchis alleges that Funding LLC both has no creditors and should not be a

         debtor because it is not insolvent. Colchis is wrong on both fronts. First, as demonstrated in Part V

         above and the Appendix, Funding LLC’s creditors are the holders of both the MPDNs and the

         RWNs.80 Second, insolvency is not a requirement to be a chapter 11 debtor.81 In any event,

         however, Funding LLC is insolvent because, at a minimum, it was not honoring redemptions on

         the RWNs that were demanded prepetition.82 As Mr. Dunn explained in his declaration, there

         were RWNs outstanding of $41.4 million and the cash assets associated with those RWNs were

         less than $40 million. Funding LLC’s failure to pay its debts as they come due is one of three

         commonly accepted tests for insolvency.83

                            41.       Furthering its attacks on the Debtors’ decision to pursue chapter 11

         protection, Colchis points to an FAQ response on the Debtors’ website that “‘[i]n the unlikely

         event PeerStreet no longer remains in business, a third-party “special member” will step in to

         manage pending loan investments and ensure that investors continue to receive interest and

         principal payments.’” 84 The point of this is unclear; the Debtors remain in business and are

         actively managing their loan portfolio. And Colchis’s complaint that “Investors have every reason

         to believe that they were investing their money in an entity (PSFLLC) that had no likelihood of




         80
              Colchis contradicts itself on this front, as well. Compare Colchis Obj. ¶ 14 (“as a special purpose entity, PSFLLC
              has no creditors”) with Colchis Obj. ¶ 12 (Colchis alleging that it holds “. . . not less than $38 million in claims
              against PFLLC on account of MPDNs . . .” (emphasis added)).
         81
              See In re LTL Management, LLC, 64 F.4th 84 (3d. Cir. 2023).
         82
              See Exhibit 1, Dunn Decl. ¶ 22 (describing Funding LLC declaring a Liquidation Trigger for the RWNs and
              halting redemptions).
         83
              See In re Opus E. LLC, 698 F. App'x 711, 715 (3d Cir. 2017) (“There are three tests for determining whether an
              organization is insolvent at a given point in time: the balance sheet test, the cash flow test, and the inadequate
              capital test . . . . A debtor is cash flow insolvent if, at the time a transfer is made, the debtor intended to incur, or
              believed or reasonably should have believed that it would incur, debts beyond its ability to pay as they came
              due.”).
         84
              Colchis Obj. ¶ 1 (quoting an FAQ response from the Peer Street website).
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         filing bankruptcy[,]”85 is directly contradicted by the extensive, pages-long discussion of that exact

         possibility in the Memorandum and MPDN Supplement, as discussed above.86

         VI.       COLCHIS’S RELATIONSHIP WITH PEER STREET

                             42.      Pacific Funding Trust 1002 and Pacific RBLF Funding Trust (i.e., the

         Pacific Funds) are investment funds managed by Colchis Cap Colchis Capital Management, L.P.

         Colchis describes itself as a “technology and data driven alternative investment firm”87 and touts

         itself as “a pioneer and first significant institutional investor in the technology-enabled lending

         ecosystem, Colchis invested over $7 Billion in more than 500,000 digital consumer loans since

         2011.” 88

                             43.      The Debtors and Colchis have had significant business dealings over the

         years. For instance, in 2019, Colchis led and completed a $60 million Series C funding round for

         the Debtors.89 Colchis also currently owns 3.22% of the equity of Debtor PSI, the ultimate parent

         of the Debtors.

                             44.      Colchis has also provided significant amounts of debt financing to the

         Debtors. For instance, Colchis is a substantial holder of Peer Street Notes and alleges that its owns

         $38 million of MPDNs.90 Those, at least in part, result from the Colchis Framework Agreement,

         which dates back to 2017, under which Colchis agreed to make investments or purchases




         85
               Id. ¶ 11.
         86
               See supra, Part III.
         87
               Colchis Capital, https://www.colchiscapital.com (last visited Aug. 17, 2023).
         88
               Specialty Finance, Colchis Capital, https://www.colchiscapital.com/strategies/specialty-finance (last visited
               Aug. 17, 2023).
         89
               PeerStreet Raises $60 Million in Funding and $4.25 in New Capital Commitments, Peer Street,
               https://www.peerstreet.com/blog/peerstreet-raises-60-million-in-funding-and-4-25-billion-in-new-capital-
               commitments (last visited Aug. 17, 2023).
         90
               Colchis Obj. ¶ 12.
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         representing 20% of Peer Street’s loan inventory, up to the point of $200 million in investments.91

         These investments included both whole-loan purchases and Notes purchases.92 In furtherance of

         the Colchis Framework Agreement, PSFI and Colchis entered into the Colchis Master Loan Sale

         Agreement for the purchase of loans from the Debtors.93 Specific language was included in the

         Colchis Master Loan Sale Agreement to make it clear that Colchis was purchasing whole loans,

         and not participation interests.94

                           45.      Moreover, in addition to the Colchis Framework Agreement, Colchis and

         PSFI, through a former subsidiary, were parties to the Colchis Warehouse Financing Facility,

         pursuant to which Colchis provided warehouse financing to PSFI’s subsidiary to allow that

         subsidiary to purchase participation interests in Underlying Loans originated or purchased by PSFI

         (similar to the manner in which the Warehouse Entities providing funding to PSFI).95 Through

         various amendments, Colchis ultimately increased its financing commitment to $100 million.96

                           46.      And as touched on in paragraph 4 above and paragraphs 82 and 92 below,

         starting in or around April, Colchis has sought to expand on this extensive commercial relationship

         with certain “plan structures” proposed to the Debtors. As noted herein, the Colchis Objection


         91
              Exhibit 22, Amended & Restated Colchis Framework Agreement, Article 2 at 8.
         92
              Id.
         93
              See generally Exhibit 34, Colchis MLSA.
         94
              Id. at 8 (“Each Loan Document for each Loan and the contents of the related Servicing File shall be vested in
              Owner [Colchis], and the ownership of Servicing File and all related records and documents with respect to the
              related Loan prepared by or which come into the possession or control of Servicer shall immediately vest in
              Owner and shall be retained and maintained, in trust on behalf of and for the benefit of Owner, by Servicer
              [Peer Street] in a custodial capacity only . . . Servicer shall mark its records to reflect ownership of the Loans
              by Owner or, as otherwise directed by Owner . . . Record title to each Loan and the related Promissory Note, to
              the extent applicable, shall remain in the name of Owner.” (emphasis added)).
         95
              See generally Exhibit 23, Colchis – PSFI LSA.
         96
              Exhibit 23, Colchis Warehouse Financing Facility at 12; 2d Amend. at 1 (“[C]ommitment of Lender [Colchis] to
              make or otherwise fund Term Loans in an amount not to exceed $75,000,000 in the aggregate.”); Colchis – PSFI
              LSA 3d Amend. at 13 (“The Borrower [PSFI] hereby requests . . . it receive a Term Loan under the Loan
              Agreement in an aggregate principal amount of [] $25,000,000.”).
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         appears to be a tactic in furtherance of these “plan structures” to extract as much value out of the

         Debtors’ estates for itself at the expense of other creditor.

                                         REPLY TO THE OBJECTIONS

         I.     COLCHIS

                        47.     Colchis’ objection to the Bidding Procedures Motion centers on its

         contention that the MPDNs are somehow “subparticipations” in the Underlying Loan in which

         PSFI had granted participations to PSFLLC under the Funding LLC Participation Agreement and

         that this purported interest bars the Debtors from selling the Underlying Loans. This contention

         is defective for numerous reasons: (i) it ignores that the Peer Street Notes expressly authorize the

         Debtors to sell the Underlying Loans without the consent of the noteholders, (ii) it ignores or

         violates the plain language of the MPDNs, which each state that they are unsecured notes; (iii) it

         ignores the clear description of the rights granted by the MPDNs that are laid out in detail the

         PPMs and the Investor Agreement, and flatly negate any participation interest; (iv) the structure

         of each transaction underlying the Peer Street Notes involved an express participation agreement,

         which contained very different terms and patently bely that the MPDNs conveyed a participation

         interest; (v) under Colchis’s cited caselaw, the MPDNs do not satisfy the criteria for a participation,

         and (vi) Colchis’s argument is unsupported by section 541(d) of the Bankruptcy Code and any

         controlling legal authority.

                A.      The MPDNs, RWNs and PDNs All Expressly Permit the Debtors to Sell the
                        Underlying Loans Without the Consent of the Investors

                        48.     The Peer Street Notes all contain virtually identical sale provisions that

         expressly permit the Debtors to sell, convey, assign or otherwise transfer the Underlying Loans

         without the consent of corresponding noteholder. Specifically, the promissory note documents all

         state in nearly identical terms that the applicable Debtor, “may sell, convey, assign or otherwise

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         transfer (a) all or any part of the corresponding mortgage loan or (b) any interest in the

         corresponding mortgage loan, whether any such sale, conveyance, assignment or other transfer

         occurs directly or indirectly, voluntarily or involuntarily or by operation of law, without the prior

         written consent of the Investor.”97        Thus, Colchis’s incorrect assertion that the MPDNs and

         RWNs created participations in Funding LLC’s interest in the Underlying Loans is irrelevant

         because Colchis and all the other noteholders have expressly consented to the Debtors’ sale of the

         Underlying Loan or “any interest” therein even without the holders’ consent. Colchis single

         handedly stalled out the Debtors’ ongoing marketing and sale process by casting a cloud over the

         ownership interests in the Underlying Loans knowing full well whatever that interest may be is

         irrelevant to the Debtors’ right to sell them.

                          49.     The Debtors’ unilateral power to sell the Peer Street Notes with our without

         the consent of the noteholders makes perfect sense. As discussed above and below, the noteholders

         enjoy no contractual privity with PSFI (the loan servicer), have no right to appoint a replacement

         loan servicer and have no collateral rights in the Underlying Loans or any other assets. The

         MPDNs provide no guidance on how the respective rights in the Underlying Loans should be

         balanced between holders of different series of MPDNs in the same Underlying Loans.

                          50.     Moreover, given the absence of clear guidance in the MPDNs and lack of

         authority for collective action, it will be virtually, if not entirely, impossible outside of the tools in

         a chapter 11 case to obtain unanimous consensus from a nearly 7,000 person Investor body that

         collectively holds 67,000 competing claims across more than 300 loans, many of which claims

         barely eclipse $1,000, to wind-up the Peer Street Notes. In the event of an outright Peer Street




         97
              Exhibit 13, MPDN Suppl. ¶ 6; Exhibit 3, Pocket 1 Month RWN Suppl. (Form of Note ¶ 6); Exhibit 21, PDN
              Suppl. ¶ 7.
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         failure and absent any available alternative transaction, the Debtors must have the power – which

         was granted here – to liquidate the Underlying Loans and distribute the proceeds because there

         would simply be no other way for those nearly 7,000 investors to determine how to “service” their

         nearly 7,000 individual fractional interests in hundreds of mortgages.98 And even if they could

         agree – which seems to be a practical impossibility – who would direct the servicer on key

         ownership decisions such as loan modifications, loss mitigation, foreclosure and myriad other

         issues. Such a result would be disastrous for the noteholders and Colchis’s theory ignores the

         calamity of it actually being correct. A sale of the Underlying Loans – absent the emergence of

         another actionable proposal (which does not yet exist) – is the only currently available outcome

         here.

                  B.       The MPDNs are Not “Sub-Participations”

                           51.      Colchis now claims that the participations in the Underlying Loan sold by

         PSFI to PSFLLC under the Funding LLC Participation Agreement have somehow been “sub-

         participated” to the unsecured creditors that hold the MPDNs and that the estates only hold bare

         legal title. Specifically, Colchis claims: “Like the 100% loan participations sold by PSFI to

         PSFLLC, the MPDNs sold by PSFLLC to the MPDN Participants, also constitute 100%

         participations, or really sub-participations.”99           Colchis cites no legal authority establishing the

         legal framework or test for determining when a participation has, itself, been so-called “sub-

         participated” and none of the cases cited involve a situation where the parties agreed to the issuance

         of an unsecured note and one party later claimed it was conveyed an actual property interest.



         98
              Even if all 7,000 investors had the power (which they do not) to agree on the same servicer and they each
              individually agreed to the same servicer and related fee structures (which, again, seems virtually impossible),
              servicing still cannot be transferred unless and until PSFI recovers the approximately $15.5 million outstanding
              servicing advances and deferred servicing fees owed to it.
         99
              Colchis Obj. ¶ 17.
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                               a. The Peer Street Note Documents are Clearly and Unambiguously
                                  Unsecured Notes

                         52.      Under Delaware law, “courts are required to give unambiguous contract

         terms their plain meaning, without regard to extrinsic evidence.” ITG Brands, LLC v. Reynolds

         Am., Inc., 2017 WL 5903355, at *6 (Del. Ch. Nov. 30, 2017). See also W. Willow-Bay Court, LLC

         v. Robino-Bay Court Plaza, LLC, 2007 WL 3317551, at *1 (Del. Ch. Nov. 2, 2007), aff'd, 985

         A.2d 391 (Del. 2009), as corrected (Nov. 30, 2009) (“[Judges] . . . are instructed . . . not to consider

         extrinsic evidence unless the contract is ambiguous-reasonably susceptible of two (or more)

         plausible interpretations. In addition, extrinsic evidence may not be used in determining whether

         the contract is ambiguous.”).

                         53.      “The characterization of the participation interest should, of course, turn in

         large part on the language used in the participation agreement itself and upon any documentation

         which may accompany the participation agreement.” Bradford Anderson, Loan Participations

         and the Borrower's Bankruptcy, 64 Am. Bankr. L.J. 39, 40 (1990) (“Anderson”). The Court must

         first look solely within the four corners of the agreement between the parties – here, the Peer Street

         Notes, Investor Agreements, Memoranda and Supplements – and determine if an ambiguity exists;

         extrinsic evidence cannot be considered if the document is unambiguous, and, importantly,

         extrinsic evidence cannot be used to create an ambiguity. Id.

                         54.      It is because the underlying agreements among Colchis and the Debtors are

         so clear and unambiguous, that Colchis has specifically quoted none of them, and only resorts to

         two non-legal snippets from the Debtors’ website. The “documents” in this case are the MPDNs,

         RWNs and PDNs (depending on the product), as well as the Investor Agreement, Memorandum

         and Supplements.



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                              55.     First, each Peer Street Note is titled a “Note” and refers to itself throughout

         as a “Promissory Note” or “this Note.”100 . The Peer Street Notes refer to the obligation thereunder

         as a “promise[] to pay” rather than the conveyance of any interest or participation.101 Indeed, the

         Peer Street Notes contain no reference to the words “participation” or “subparticipation.” Nor do

         any of the offering documents refer to conveying any property interest. In fact, they expressly

         refute that any property interest is being conveyed to the holders.102                     And all of the Peer Street

         Notes specifically provide that the issuing Debtor (PSFLLC or Portfolio, as applicable) can sell

         the Underlying Loans without the prior written consent of the respective note holders.103                              The

         Peer Street Notes all have identical or nearly identical provisions requiring each holder to agree to

         treat the Peer Street Notes as debt of PSFLLC (for the MPDNs and RWNs) or of Portfolio (for the

         PDNs) for tax purposes and prohibits them from taking a position they are anything but.104

                              56.     If the outright clarity of the Peer Street Notes needs further support, an

         abundance of it is found in the other documents governing the noteholders’ relationship to the

         Debtors. As detailed above, the 2014 Memorandum (a) refers to the sale of “certain promissory

         notes of PeerStreet [defined as PSFLLC]….[,]” (b) throughout describes the product as a “Note,”

         (c) describes the MPDNs repeatedly as unsecured obligations without any security or property

         interest in any assets, including the Underlying Loans.105                          Significantly, while the 2014




         100
               See, e.g., Exhibit 13, MPDN Suppl. ¶ 1; Exhibits 3 and 24, RWN Suppl. ¶ 1; Exhibit 21, PDN Suppl. ¶ 1.
         101
               See, e.g., Exhibit 13, MPDN Suppl. at 1; Exhibits 3 and 24, RWN Suppl. at 1; Exhibit 21, PDN Suppl. at 1.
         102
               See, e.g., Exhibit 13, MPDN Suppl. ¶ 1 (providing that the “Note represents a special limited obligation of
               [PSFLLC]”).
         103
               See, e.g., id. ¶ 6.
         104
               Exhibit 13, MPDN Suppl. ¶ 17; Exhibits 3 and 24, RWN Suppl. ¶ 17; Exhibit 21, PDN Suppl. ¶ 17.
         105
               Exhibit 18, 2014 PPM at i; see also id. at ii, 2, 6, 11-12, 26, 44 (all referring to the unsecured nature of the Notes
               without any security interest in any assets, including the Underlying Loans).
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         Memorandum discusses the potential for a Peer Street bankruptcy, nowhere does it suggest that

         the Underlying Loans would be excluded from the bankruptcy estate under such a filing.106

                                57.    The 2019 Memorandum – provided to all holders of Peer Street Notes –

         similarly refers to the Peer Street Notes throughout as the “special, limited, unsecured obligations

         of the PS Issuer” and clearly specifies that the Peer Street Notes “do not grant [noteholders] actual,

         legal, recorded or unrecorded, interests in the Underlying Investment itself . . . .”107    Contrary to

         Colchis’s argument, the Memorandum clearly provides that the noteholders have no “privity of

         contract or any other legal relationship with any borrower, owner, sponsor or other third party

         involved…or any direct interest in the Underlying Investment.”108

                                58.    It further expressly warns that Peer Street’s affiliates may not be

         “bankruptcy proof” and that noteholders’ promissory note claims may only entitle them to be

         treated “the same as other general unsecured creditors…and thus be required to share the proceeds

         of the Underlying Investments with those creditors” in the event of a Peer Street bankruptcy.109

                                59.    The MPDN Supplement likewise refers to the MPDNs throughout as

         unsecured limited obligations of Funding LLC and that they are not coupled with any collateral or

         security interest.110         Importantly, the MPDN Supplement clearly states that the MPDNs are “not

         obligations of any borrower or lender (including any PSI affiliate acting as lender [such as PSFI])

         associated with any Underlying Loan.”111            The MPDN Supplement also specifies that “While

         Underlying Loans may be secured by a mortgage, deed of trust, security agreement, legal title,


         106
               See id. at 11-12, 26.
         107
               Exhibit 12, 2019 PPM at 13-14.
         108
               Id. at 19.
         109
               Id. at 14, 21.
         110
               Exhibit 13, MPDN Suppl. at 5, 9, 13.
         111
               Id. at 9 (emphasis added).
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         personal guarantee or other mechanism, MPDNs will not represent an obligation of the borrower,

         original lender or any other third party except PSFLLC. Investors may look only to PSFLLC for

         interest payments on MPDNs.”112

                            60.      The RWN Supplement and PDN Supplement likewise describes the RWNs

         and PDNs as limited unsecured obligations of PSFLLC without any security interest in the assets

         of any PeerStreet entity or the Underlying Loans.113

                            61.      The 2014 Investor Agreement – which is incorporated by reference into the

         2014 MPDN “for all purposes” – describes the “opportunity through the PeerStreet web platform

         . . . to purchase Notes . . . .”114 The 2014 Investor Agreement goes on to provide that the MPDN

         holders “and PeerStreet agree that the Notes are intended to be indebtedness of PeerStreet for U.S.

         federal income tax purposes. You agree that you will not take any position inconsistent with such

         treatment of the Notes for tax, accounting, or other purposes, unless required by law.”115

                            62.      The Investor Agreement,116 the terms of which are expressly incorporated

         into each Peer Street Note “for all purposes”, provides that, although their payment rights

         indirectly depend on the performance of the Underlying Loan, the Peer Street Note holders do not

         have any direct interest in those loans:

                            [A]gree and acknowledge that you do not have privity of contract
                            or any other legal relationship with any third party that provides
                            services with respect to the Real Estate Securities in which you
                            invest, or is otherwise directly or indirectly related to or involved
                            with the Underlying Investments, and that you have no right of
                            recourse to any such third party, including without limitation any

         112
               Id. at 13 (emphasis added).
         113
               See Exhibit 3, Pocket 1 Month RWN Suppl. at 6, 7, 13, 14-15; Exhibit 21, PDN Suppl. at 26.
         114
               Exhibit 10, 2014 Investor Agreement at 1.
         115
               Id. ¶ 7.
         116
               Each MPDN holder must acknowledge that the “Investor Agreement, along with the PPM has been delivered to
               you via the Platform, and that you have read and understood each document.” Exhibit F ¶ 3 (emphasis added).
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                        borrower, servicer, or lender partner of PeerStreet. You also agree
                        and acknowledge that you do not have any direct interest in the
                        Underlying Investments, and that, unless explicitly provided
                        otherwise, you do not have any voting rights and/or decision-making
                        authority beyond your decision to invest or not invest in the Real
                        Estate Securities. Without limiting the generality of the foregoing,
                        any borrower or lender partner who receives a loan or funds from
                        PeerStreet has a legal relationship with PeerStreet only and
                        obligations only to us. Although payments on your Real Estate
                        Securities depend on the performance of the Underlying
                        Investments, you do not own any direct, secured, and/or recorded
                        interest in the Underlying Investment itself. PeerStreet is the only
                        entity you have a legal relationship with in relation to the Real
                        Estate Securities or the Underlying Investments and is the only
                        entity with which you have any contractual privity.

         Investor Agreement, ¶ 21 (emphasis added). It goes on to state:

                        If an Underlying Investment is held by or transferred to a PS Issuer
                        (or affiliated entity), the holding entity alone shall have an interest
                        in the Underlying Investment. If an Underlying Investment is
                        transferred to a PS Issuer due to default or similar circumstances,
                        distributions to you, if any, will be dependent on (i) the PS Issuer’s
                        ability to sell the Underlying Investment and recover any fees, costs,
                        and charges due to it and/or third-parties, and (ii) the other terms
                        provided for in the Transaction Documents. PeerStreet reserves the
                        right not to disclose specific, itemized, or otherwise cataloged
                        financial information regarding the management of an Underlying
                        Investment.

         Id. (emphasis added).

                        63.      Here, the Peer Street Notes and incorporated documents clearly and

         repeatedly described the limited recourse, unsecured nature of the liability and never – not once –

         grant the noteholders any participation right, conveyance or ownership of any kind. Indeed, the

         documents agreed to between the Debtors and the noteholders expressly state that the noteholders

         are not getting any interest in the Underlying Loans, security of any kind, contractual privity with

         any non-issuing party, or anything more than a limited recourse, unsecured promissory note.

         Where the contractual arrangements among the parties are so extensive and clear, the Court must

         find that the Notes and related documents granted to the noteholders nothing more than an
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         unsecured, limited recourse promissory note. See Zohar II 2005-1, Ltd. v. FSAR Holdings, Inc.,

         2017 WL 5956877, at *1 (Del. Ch. Nov. 30, 2017) (“The words parties use to bind themselves

         together in a contractual relationship matter.”).

                              b. Even if the Debtors’ Note Products are Incorrectly Deemed
                                 Participations, That Does Not Automatically
                                 Convey a Property Interest in the Underlying Loans

                        64.      “Participation agreements…come in all kinds of shapes and sizes.” Cent.

         Bank and Est. Owned, LLC v. Hogan, 891 N.W. 2d 197, 205 (Iowa 2017). “Loan participations

         are contractual arrangements usually evidenced by a participation agreement between the ‘lead

         lender’ and one or more ‘participants.’” Anderson, at 40.

                        There are two basic analytical classifications [of loan
                        participations], and the rights of the participant will vary
                        dramatically depending on the characterization chosen. One treats
                        the participation as a loan by the participant to the lead lender; the
                        other one classifies the participation as a complete transfer of
                        ownership interest in the loan and collateral to the participant.
                        Additionally, if the participation is classified as one involving a
                        transfer of ownership interest in the loan and collateral, it may also
                        (depending on the intent of the parties) create a trust in which the
                        participant, as beneficiary of the trust relationship, holds an
                        equitable interest in the loan, to be administered by the lead lender
                        as trustee. The characterization of the participation interest should,
                        of course, turn in large part on the language used in the participation
                        agreement itself and upon any documentation which may
                        accompany the participation agreement.

         Id. (footnote omitted).     “[I]f the participation agreement merely creates a debtor–creditor

         relationship between the originating bank and the participating bank, the participating bank has no

         ownership interest in the rights of the originating bank in underlying collateral … [and] the

         participant must have a security interest in the underlying collateral or will be reduced to a general

         creditor of the originating bank in any bankruptcy or liquidation proceeding.” Hogan, 891 N.W.

         at 205 (citing Jeffrey D. Hutchins, What Exactly Is a Loan Participation, 9 Rutgers-Camden L.J.

         447, 458-59 (1978)).
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                         If financial institutions generally intended to structure participations
                         as loans, therefore, these sophisticated commercial entities would
                         regularly file financing statements or record other documents. The
                         record seems to indicate, however, that evidence of participations is
                         not regularly filed or recorded….The better-supported
                         characterization of a loan participation thus seems to be that of a sale
                         of an undivided fractional interest in an asset held by the lead
                         lender. Many financial institutions believe that the characterization
                         of a participation as a sale of ownership interest is the preferable
                         characterization.

         Anderson, at 41, 43 (footnotes omitted).        Accordingly, a “participation” is not limited to a

         transaction resulting in the transfer or conveyance of a property interest; a “participation” can also

         be a loan.

                         65.     “Participation agreements frequently provide that the lead lender has

         “assigned, transferred and conveyed” an undivided fractional interest in the underlying loan. This

         language creates, in effect, a partial assignment, usually coupled with either an agency or trust to

         collect and remit the loan proceeds.” Id. at 40, n.5 (citing 3 S. WILLISTON, A TREATISE ON

         THE LAW OF CONTRACTS § 441 (3d ed. 1960)).

                         66.     If what the parties intended to convey in a participation agreement “is

         regarded as a sale or assignment of a fractional interest in the underlying loan, then the participant

         is deemed to ‘own’ a portion of the loan and acquire by assignment all rights associated with the

         loan.” Hogan, 891 N.W. at 205. When what’s intended is a sale with the lead lender retaining the

         underlying note documents, the participation agreement documents “often state that the documents

         are held ‘in trust’” by the lead lender for the benefit of the participants. Id.

                         67.     “[T]here are a number of factors that are often considered in determining

         whether a participation agreement amounts to a sale of an undivided interest in the total loan

         package or merely establishes a debtor–creditor relationship . . . .” Id.



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              •   “The words ‘sale,’ ‘transfer,’ and ‘assignment’ are often associated with a sale.” Id. (citing
                  Richard E. Weiner, Rights of a Participant Bank Against a Lead Bank in a Participation
                  Loan Agreement, 104 Banking L.J. 529, 529-530 (1987)).

              •   “Use of the phrase ‘undivided fractional interest’ suggests an obligation on the part of the
                  originating bank to monitor the loan in the best interest of the participants and suggests a
                  sale.” Id. (citing Anderson, at 40, n.5).

              •   “[U]se of the word “trust” tends to cut against a mere debtor–creditor relationship in a
                  participation agreement. Trust language in a participation agreement may obligate the
                  originating bank to hold the debt, the security instruments, and all payments in trust for the
                  participant.” Id. (citing Kevin B. Fisher, Loan Participations and Bank Failures: The Penn
                  Square Decisions, 44 Sw. L.J. 753, 774-776 (1990); Patrick J. Ledwidge, Loan
                  Participation Among Commercial Banks, 51 Tenn. L. Rev. 519, 526-527 (1984)).

              •   “In cases involving a failed originating institution, when possession of property is
                  impressed with a trust, the trustee in bankruptcy holds such property subject to the
                  outstanding interests of the beneficiaries.” Id. (citing 2 Michael T. Madison, et al., Law of
                  Real Estate Financing § 11.27, Westlaw (Nov. 2016 update); Weiner, 104 Banking L.J. at
                  531).

         “As a general proposition, participants wishing to ensure that their interest is treated as an

         ownership interest and not a mere loan should use the language of ownership, undivided fractional

         interest, and trust, and avoid risk dilution devices that might persuade a court that true ownership

         is not present.” Id. at 208. According to Hogan, at least one expert “has declared that a

         participation agreement ‘should always convey to the participant an undivided ownership interest

         in the loan, loan documents and collateral, using typical language of purchase and sale.’” Id.

         (citing Marvin Rau, Beyond the Handshake and a Prayer: Documenting the Modern Loan

         Participation, 59-Jun. J. Kan. B. Ass'n 19, 20 (1990) (additional citation omitted)).

                         68.     Here, none of these hallmarks of a true ownership-type participation are

         present. None of the Peer Street Notes, Memoranda, Supplements or Investor Agreements use any

         ownership, sale, assignment or conveyance language; none of them use any “trust” language; and

         none of them purport to grant an “undivided ownership interest” in the Underlying Loans. To the

         contrary, the agreements:

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                                  •   expressly state that the noteholders are not receiving an ownership
                                      interest;117

                                  •   not only contain no current sale, transfer, ownership or conveyance
                                      language, but only “promise” to later do something (i.e. pay);

                                  •   expressly provide that no trustee relationship is created and disclaim any
                                      fiduciary role on the Debtors’ part;118

                                  •   and nowhere purport to convey an “undivided ownership interest” in the
                                      Underlying Loans.

                            69.       That the Peer Street Notes were not intended to convey participation

         interests is further confirmed by the presence of an express participation agreement in the structure

         underlying each form of Peer Street Note. In the structure underlying the MPDNs, PSFI granted

         Funding LLC 100% participations in the underlying loans pursuant the Funding LLC Participation

         Agreement. In the Pocket Structure, PSFI granted the PS Warehouse entities a 100% participation

         interest in the relevant loans under the Warehouse I and II Participation Agreements. Clearly, the

         parties understood how to grant an express participation interest. That noteholders under these

         structures instead received promissory notes with a promise of payment belies any suggestion that

         they were intended to receive participation interests.

                            70.       This is borne out when the Court compares the Funding LLC Participation

         Agreement to the Peer Street Notes. The Funding LLC Participation Agreement provides that

         PSFI “as seller, hereby irrevocably sells, assigns, transfers and conveys to PSFLLC, as buyer, the

         Participations ….”119 It also provides that PSFI “shall hold the Note, the Mortgage and the other


         117
               See, e.g., Exhibit 11, Investor Agreement ¶ 21 (“You also agree and acknowledge that you do not have any direct
               interest in the Underlying Investments.”).
         118
               See, e.g., Exhibit 13, MPDN Suppl. at 17 (“[T]here is no trustee involved in the structure of the MPDNs, Investors
               in the MPDNs will not have the protection of a trustee . . . .”); Exhibit 3, Pocket 1 Month RWN Suppl. at 17;
               (“None of PSFLLC, Warehouse LLC, PSFI, PSI, other PeerStreet entities, or the Special Members are fiduciaries
               or owe fiduciary obligations to Investors.”); Exhibit 24, Pocket 3 Month RWN Suppl. at 20 (same).
         119
               Exhibit 8, Funding LLC Participation Agreement ¶ 2; see also Exhibit 6, Warehouse I Participation Agreement,
               ¶ 2 (“each Participant owns…the Loans…”); Exhibit 7, Warehouse II Participation Agreement, ¶ 2 (same).
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         Loan Documents for the benefit of” the participant, here PSFLLC.120 And the funds PSFI receives

         on the Underlying Loans are “h[e]ld in trust for the ratable benefit of” PSFLLC.121 Finally, the

         Funding LLC Participation Agreement provides that if PSFI “acquires title to any Collateral…each

         Participant shall be deemed to have an undivided interest in such Collateral equal to the

         Participant’s proportionate share therein.”122 By contrast, the Peer Street Notes have no ownership

         conveyance, sale or assignment language whatsoever and instead refer to a mere “promise[] to

         pay.”123 The Peer Street Note documents also make no reference to funds or assets being held “in

         trust” for the benefit of the noteholders and instead expressly warn that loans and collections will

         be pooled thereby subjecting those assets to various risks, including bankruptcy.124

                                71.   Note holders were fully informed of the existence of these express

         participation agreements and were thus on notice that the Peer Street Notes they purchased did not

         expressly conveyance such an interest. The Peer Street Note Supplements discuss the nature,

         extent and existence of the underlying intra-Debtor participations. For example, the MPDN

         Supplement specifically describes the participations PSFI grants to PSFLLC under the Funding

         LLC Participation Agreement described above:

                                PSFLLC is the issuer of the MPDNs, but PSFLLC may not itself
                                purchase or hold any Underlying Loans tied to MPDNs. Though
                                PSFLLC may directly hold Underlying Loans tied to MPDNs, it

         120
               Exhibit 8, Funding LLC Participation Agreement, ¶ 3.1; see also Exhibit 6, Warehouse I Participation Agreement,
               ¶ 3.2 (same); Exhibit 7, Warehouse II Participation Agreement, ¶ 3.2 (same). And the funds PSFI receives on the
               Underlying Loans are “h[e]ld in trust for the ratable benefit of” PSFLLC. Id. ¶ 3.2(a); see also Exhibit 6,
               Warehouse I Participation Agreement, ¶ 3.3(a) (all funds “received…for the…benefit of all Participants…”);
               Exhibit 7, Warehouse II Participation Agreement, ¶ 3.3(a) (same).
         121
               Exhibit 8, Funding LLC Participation Agreement ¶ 3.2(a); see also Exhibit 6, Warehouse I Participation
               Agreement, ¶ 3.3(a) (all funds “received…for the…benefit of all Participants…”); Exhibit 7, Warehouse II
               Participation Agreement, ¶ 3.3(a) (same).
         122
               Funding LLC Participation Agreement ¶ 5 (emphasis added); see also Exhibit 6, Warehouse I Participation
               Agreement ¶ 5 (same); Exhibit 7, Warehouse II Participation Agreement ¶ 5 (same).
         123
               See, e.g., Exhibit 13, MPDN Suppl., at 19.
         124
               See id. at 13.
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                            may alternatively enter into participation agreements with
                            affiliated entities, who in turn hold those loans. For example, after
                            PSFLLC receives investors’ investments, it may transfer those
                            investments to its affiliate, including PSFI, in consideration for a
                            whole participation interest in the Underlying Loan. These
                            participation interests would grant PSFLLC the right to, among
                            other things, receive payments from the borrower payable on the
                            Underlying Loan and/or engage in collections or related efforts in
                            the case of default. Under this structure, PSFI retains title, legal
                            ownership, and some servicing rights with respect to the
                            Underlying Loan. Information related to which entity holds the
                            loans and whether PSFLLC has collections or foreclosure rights will
                            be provided in the applicable Listing.

                            As holder of or participant in the Underlying Loans, PSFI receives
                            payments from borrowers on the Underlying Loans. As payments
                            are received by PSFI, PSFI first uses these funds to pay out fees and
                            expenses, including, without limitation, PeerStreet’s own fees, and
                            then transfers the remainder, if any, to PSFLLC under the terms of
                            the participation. Investors in MPDNs are, in turn, entitled to receive
                            these net payments from PSFLLC. In situations where PSFLLC
                            directly holds legal title to the Underlying Loan, in addition to the
                            rights it would hold if it held a whole participation in the Underlying
                            Loan, it may still retain PSFI as master servicer and payments may
                            first flow through PSFI in that capacity. Section 3 below provides
                            greater insights into fees, costs, and priority of payment.

                            While PeerStreet generally uses the participation structure to
                            lower PSFLLC’s exposure to certain bankruptcy risks, you should
                            note that PSFLLC will not have entered into a contract with the
                            lender directly and PSFI is not a bankruptcy-remote entity. In
                            situations where PSFLLC holds legal title to the Underlying Loans,
                            it may still retain PSFI to perform certain servicing-related
                            functions.125

                            72.      The holders of the MPDNs were thus advised that this structuring—

         issuance of participation interests to Funding LLC—was a means to “to lower [Funding LLC’s]

         exposure to certain bankruptcy risks” and, in particular, that of “PSFI, who, is not a bankruptcy-

         remote entity.”126 On the other hand, Funding LLC did not tout the structuring of the MPDNs as


         125
               Id. at 3 (emphasis added).
         126
               Id.
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         lowering any risk the MPDNs holders may have had in the event of Funding LLC’s bankruptcy;

         it said the exact opposite.

                            73.      Here, the applicable documents clearly demonstrate that no ownership

         conveyance, sale, assignment or transfer of any interest in the Underlying Loans occurred. And,

         in fact, both the Debtors and the noteholders agreed that no such conveyance occurred.127

         Accordingly, even if the Court were to conclude that some sort of “participation” was granted, that

         “participation” is merely an unsecured, non-priority claim against PSFLLC and no actual

         ownership interest was conveyed with such “participation.”

                                  c. Even if the Court Applies the Tests Colchis Proffers to the Facts,
                                     No Ownership was Conveyed.

                            74.      As a threshold matter, Colchis’s reliance on the cases cited in the Colchis

         Objection is misplaced for a few reasons. First, none of the cases address, much less establish the

         circumstances in which, a “subparticipation” may be created. Furthermore, Colchis’s claim that

         “[i]t is notable that there is no requirement in the Coronet Capital factors that the participant

         directly advance funds to the lead lender, rather than, as here, through an intermediary participant”

         (i.e., PSFLLC) is entirely unsupported by any of the cases discussed.128 None of them address

         Colchis’s “intermediary participant” theory and what are the legal requirements to conclude that a

         party that was granted an undisputed participation under a document called a “participation

         agreement” has “participated out” its undisputed participation to third parties under a document

         titled “Promissory Note”. Also, importantly, none of the cited cases involve a court analyzing

         what the parties styled as an unsecured promissory note but was deemed to be a true participation.



         127
               Exhibit 11, 2019 Investor Agreement ¶ 21 (“You also agree and acknowledge that you do not have any direct
               interest in the Underlying Investments . . . .”).
         128
               Colchis Obj. ¶ 21.
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         Instead, every case where the Court found a true participation to exist began with a form of

         agreement described by the court as a participation agreement. Colchis hasn’t cited to a single

         case – and the Debtors have found none – where a court recharacterized an unsecured, limited

         recourse promissory note as the conveyance of an ownership interest or participation. None,

         moreover, do so where the purchasers of the notes were repeatedly informed in in writing before

         their purchase that the notes were purely unsecured obligations and conferred no collateral or other

         direct interest in the underlying loans.

                            75.      But even under its own caselaw, Colchis’s theory fails. The caselaw cited

         by Colchis defines a participation as a “contractual agreement between a lender and a third party,

         in which the third-party, or participant, provides funds to the lender. The lender, in turn, uses the

         funds from the participants to make loans to the borrower.”129 According to Colchis, “[a] true

         participation agreement is one that: a) money is advanced by participant to a lead lender; b) a

         participant's right to repayment only arises when a lead lender is paid; c) only the lead lender can

         seek legal recourse against the borrower; and, d) the document is evidence of the parties true

         intentions.” In re Coronet Capital Company, 142 B.R. 78, 82 (Bankr. S.D.N.Y. 1992) (citation

         omitted). Under Colchis’s theory, PSFI is the “lead lender” under this test and the noteholders are

         the putative “participants” or “subparticipants.”130

                            76.      Colchis cannot identify a “contractual arrangement between a lender and a

         third party.”131 There exists no contract between Colchis’s alleged “lead lender” (PSFI) and any

         note holders. Indeed, the Peer Street Note documents specifically state that the holders have no



         129
               Colchis Obj. ¶ 19 (quoting Rothenberg v. Oak Rock Fin., LLC, 2015 WL 10663413, at *6 (E.D.N.Y. Mar. 31,
               2015).
         130
               See id. ¶ 21 (referring to PSFLLC as an “intermediary participant”); ¶ 23 (“[t]he lead lender, Peer Street Funding,
               Inc….”).
         131
               Id. ¶ 19. (quoting Rothenberg, 2015 WL 10663413, at *6 (E.D.N.Y. Mar. 31, 2015)).
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         contractual privity other than with the issuer of the respective Peer Street Notes: Funding LLC.

         See Guardian Constr. Co. v. Tetra Tech Richardson, Inc., 583 A.2d 1378, 1386-87 (Del. Super.

         Ct. 1990) (explaining that unless there is an intention to “confer a benefit upon [] a third-party,”

         only the contracting parties have an enforceable right under the contract); Am. Fin. Corp. v.

         Comput. Sci. Corp., 558 F. Supp. 1182, 1185 (D. Del. 1983) (same).

                            77.      Colchis also supports its argument by claiming: “As set forth in each

         MPDN, the name of the participant is set forth under the name of the lead lender.”132 This is flatly

         wrong – none of the MPDNs or RWNs name PSFI as the issuer. Instead, they all name PSFLLC

         as the issuer.133

                            78.      Of the four Coronet factors, three fail on the face of the MPDNs. First, no

         money was advanced by the putative participants (the MPDN holders) to the lead lender (PSFI).

         Instead, the MPDN holders gave money to PSFLLC in exchange for promissory notes.134 Second,

         the MPDN holders’ right to repayment does not arise when PSFI is paid; it arises only when

         PSFLLC is paid. All of the MPDNs have nearly identical provisions in this regard and state that:

         “This Note represents a special limited obligation of [PSFLLC], and (1) no payments of principal

         and interest on this Note shall be payable unless [PSFLLC] has received payments relating to the

         corresponding mortgage loan, and then only to the extent of the amount of such payments received

         by [PSFLLC] . . . .”135 Nothing in the MPDNs suggest that the holders’ right to receive payment


         132
               Colchis Obj. ¶ 21.
         133
               See, e.g., Exhibit 13, MPDN Suppl. at 1; Exhibit 21, PDN Suppl, at 1; Exhibit 3, Pocket 1 Month RWN Suppl. at
               1.
         134
               Colchis does not even seem to argue that the RWN holders hold any participations in the Underlying Loans—i.e.
               the assets they contend the Debtors cannot sell. Instead, Colchis argues they are the “beneficial owners of the
               pledge the warehouse Borrowers made to PSFLLC to secure the loans RWN holders funded by purchasing RWNs
               from PSFLLC.” Colchis Obj. ¶ 5, n.14. Colchis does not even attempt to support this contrived “participation-
               in-a-participation-in-a-participation” theory, which is likely why its relegated to a footnote.
         135
               Exhibit 13, MPDN Suppl. ¶ 1; see Exhibit 3, Pocket 1 Month RWN Suppl. (Form of Note), ¶ 1.
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         arises when PSFI is paid by the borrower on the Underlying Loan. Indeed, as noted above, the

         contractual arrangements among the parties clearly provide that the noteholders have no

         contractual privity with PSFI, so no rights ever arise vis-à-vis PSFI, much less a right to payment.

                            79.      The third Coronet factor—“only the lead lender can seek legal recourse

         against the borrower”—likewise weighs against finding a true participation. While it is true that

         only PSFI can seek legal recourse against the borrowers on the Underlying Loans that fact is

         meaningless to the holders of the Peer Street Notes because – unlike the cases cited – they have no

         contractual privity or other contractual rights in the collateral in the event PSFI were to seek legal

         recourse against a borrower.

                            80.      Finally, as set forth exhaustively above, “the document is evidence of the

         parties[’] true intentions,” In re Coronet, 142 B.R. at 82,136 and the Court need not look beyond

         the actual contractual arrangement between the Debtors and Colchis to conclude that the Peer

         Street Notes are, in fact, promissory notes and not participations-in-participations. Yet, even if the

         Court is inclined to consider proof outside of the Peer Street Note documents, there is no contrary

         conclusion. For example, and most telling, as explained above, the Debtors clearly knew how to

         draft an express participation agreement – and did so as part of the structuring around each note

         issuance. Nonetheless, the noteholders were offered and acquired only unsecured promissory

         notes, which did not purport to convey title or grant ownership in the Underlying Loans

                            81.      Colchis also does not reveal it to the Court, but it has an extensive and long

         standing commercial relationship with the Debtors in which it has not only purchased tens of

         millions of dollars in MPDNs, but also transacted hundreds of millions of dollars in other




         136
               Colchis cites the Coronet factors as “determining whether an interest in a loan is a true participation[.]” Colchis
               Obj. ¶ 20. The Coronet decision instead dealt with a participation agreement that was determined to be a loan.
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         capacities, as a whole loan buyer, warehouse lender, and equity investor. Clearly when Colchis

         wanted to invest equity, it knew how to do that; when it wanted to purchase loans to be serviced

         by the Debtors, it new how to do that; when it wanted to lend to the Debtors, it knew how to do

         that. For such an entity to claim that it had misunderstood the nature of the interests it acquired

         though the MPDNs is simply not credible.

                            82.   Colchis, moreover, has every reason to be disingenuous in its objection. As

         noted above and in the Colchis Objection, starting in April, Colchis continued to build on this

         extensive and long-standing commercial relationship by “propos[ing] various plan structures to

         the Debtors….”137. These “plan” structures would allow Colchis to collect millions of dollars in

         fees and charges that will otherwise not be available to it if the Debtors instead sell the Underlying

         Loans. Colchis, in other words, stands to gain enormously from its attempted recharacterization

         of MPDNs. If it can derail the sale process based on its meritless claims to own the Underlying

         Loans, Colchis would be the only game in town, and well-positioned to extract terms that are not

         advantageous to the estates or their other Peer Street Note holders. And the “plan structures”

         Colchis referred to in the Colchis Objection – including the one proposed weeks before the Petition

         Date and one the day it filed the Colchis Objection – expressly require the Debtors to own the

         Underlying Mortgages and contemplate the transactions occurring in a chapter 11 bankruptcy. The

         “plan structures” would be entirely unviable if Colchis’s new legal theory that it acquired

         “participations” is correct. This is completely at odds with the “plan structures” Colchis hopes the

         Debtors will yield to. So Colchis is taking a position with this Court that is completely at odds

         with the “plan structures” its proposed.




         137
               Id. ¶ 22.
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                           83.      Accordingly, even applying Colchis’s own caselaw to the facts here does

         not support Colchis’s legal theory.

                                 d. Colchis’s Application of Section 541(d) and Caselaw is Flawed.

                           84.      Section 541(d) of the Bankruptcy Code provides, in its entirety, that:

                           Property in which the debtor holds, as of the commencement of the
                           case, only legal title and not an equitable interest, such as a mortgage
                           secured by real property, or an interest in such a mortgage, sold by
                           the debtor but as to which the debtor retains legal title to service or
                           supervise the servicing of such mortgage or interest, becomes
                           property of the estate under subsection (a)(1) or (2) of this section
                           only to the extent of the debtor's legal title to such property, but not
                           to the extent of any equitable interest in such property that the debtor
                           does not hold.

         As stated by the Court in Sprint Mortgage Banker, “[s]ection 541(d) is a codification of the law

         in many states, including New York, which exempts secondary mortgage market participants from

         compliance with State recording laws regarding perfection of the interests of assignment

         purchasers.” 164 B.R. 224, 228 (Bankr. E.D.N.Y. Feb. 17, 1994). The Peer Street Notes do not

         meet the plain language of the statute to exclude the Underlying Loans from property of the estate

         for several reasons.

                           85.      First, the PPMs expressly provided that the Peer Street Notes do not “grant

         [Investors] actual, legal, recorded or unrecorded, interests in the Underlying [Loan] itself.”138

         Colchis’s argument then is that the Court should apply a statutory carve-out applicable to certain

         property interest (unrecorded interests in mortgage loans) to a transaction that the parties expressly

         agreed did not create such a property interest.

                           86.      Second, Funding LLC, with whom the holders of MPDNs and RWNs have

         commercial relationships, does not hold “legal title” to any Underlying Loans. Instead, Funding



         138
               See Exhibit 12, 2019 PPM at 18; Exhibit 18, 2014 PPM at 13-14 (emphasis added).
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         LLC holds only a participation interest in the Underlying Loans, with respect to Underlying Loans

         associated with the MPDNs, or a security interest in participation interests in the Underlying

         Loans, with respect to Underlying Loans associated with the RWNs. At most then, holders of the

         MPDNs were sold a right to payment based on Funding LLC’s realizations from its beneficial

         interest in an Underlying Loan. The RWNs are even further attenuated since Funding LLC does

         not even have a beneficial interest in the Underlying Loans associated with them. At most,

         Funding LLC has a claim against the applicable Warehouse Entity owning the Underlying Loans.

         Further, Funding LLC did not retain anything for purposes of servicing or supervising the servicing

         of any Underlying Loans. The retention of title for purposes of servicing has always been with

         PSFI. As described to investors in MPDNs:

                            For example, after PSFLLC receives investors’ investments, it may
                            transfer those investments to its affiliate, including PSFI, in
                            consideration for a whole participation interest in the Underlying
                            Loan. These participation interests would grant PSFLLC the right
                            to, among other things, receive payments from the borrower payable
                            on the Underlying Loan and/or engage in collections or related
                            efforts in the case of default. Under this structure, PSFI retains
                            title, legal ownership, and some servicing rights with respect to the
                            Underlying Loan.139

                            87.     Third, nothing in the Peer Street Notes effectuates, purports to effectuate,

         or even evidences an intent to effectuate a sale of any mortgage or interest in a mortgage by

         Funding LLC to the holders of MPDNs or RWNs. Indeed, the Peer Street Note offering documents

         expressly refute that such a sale occurred, advising parties that the Peer Street “holding entity alone

         shall have an interest in the Underlying Investment” 140 and repeatedly stating that holders “will

         not have any security interest in the assets of [the Peer Street entity], any borrower or lender, any



         139
               Exhibit 13, MPDN Suppl. at 3.
         140
               See Exhibit 11, 2019 Investor Agreement, ¶ 21.
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         Underlying Loan, any proceeds from any Underlying Loan or in the assets of any borrower or

         lender (including any PSI affiliate acting as lender) associated with any Underlying Loan.”141

         Thus, there was no predicate “sale” of a mortgage or an interest in a mortgage as would be required

         for section 541(d) to apply.142

                            88.      Colchis also urges the Court to read the cases it cites for the following

         proposition: no matter what else is stated in the document, if the Coronet factors are sufficiently

         present in a transaction and would weigh in favor of finding a transaction to have created a true

         participation, the Court must conclude a participation exists. As Colchis would have it, no matter

         what else a document says, if it arguably touches on the four Coronet hallmarks, it must be a

         participation, even if the parties made it abundantly clear that they only intended to create a debtor-

         creditor relationship.

                            89.      But Colchis bends those cases beyond their holding to the point of breaking.

         None of the cases appear to involve extensive and unambiguous agreements such as those outlined

         above, where the parties not only agreed to what each party was getting, but expressly agreed to

         what they were “not” getting – a participation. Instead, the cases involved a document or

         agreement that was called one thing, but whose features evidenced the parties’ intent to transact

         something different. That is simply not the case here.




         141
               Exhibit 13, MPDN Suppl. at 11. See also Exhibit 3, Pocket 1 Month RWN Suppl. p. 7; Exhibit 24, Pocket 3
               Month RWB Suppl. at 9; Exhibit 21, PDN Suppl. at 5 (including substantively similar disclaimers).
         142
               This analysis is largely the same as it relates to the Underlying Loans participated to Portfolio LLC and the PDNs
               issued by it. The PDNs are also distinguishable because they were associated with an entire, undistinguished pool
               of loans, and the PDN payment rights were not dependent on the performance of any particular Underlying Loan.
               Moreover, the liquidation of particular Underlying Loans did not give rise to specific payment rights of any
               particular PDN holder, thus refuting any suggestion that a PDN holder had rights in an Underlying Loan. For
               that reason, even where Portfolio LLC outright owned an Underlying Loan, section 541(d) does not exclude that
               from property of its estate.
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                            90.     Virtually all of Colchis’s authority is irrelevant to the question before the

         Court here: whether what the parties clearly stated was a debt transaction was, in fact, the

         conveyance of a property interest. Of the authority Colchis relies on, only Sprint Mortgage

         Bankers Corp. involved a transaction that the parties styled as a secured loan (albeit one coupled

         with an assignment of mortgages) and the Court found no “true participation” was created. 164

         B.R. at 229. Here, no security interest was coupled with any of the Peer Street Notes and, instead,

         they all expressly disclaimed any such interest being granted.143 The remaining cases all involved

         a determination of whether a transaction that purported on its face to grant a participation interest

         was effective to create a “true participation.” See Coronet Capital, 142 B.R. at 79 (describing the

         agreement in question as an “Assignment, Participation and Servicing Agreement” but concluding

         it was not a true participation and was a disguised loan); Corporate Financing, 221 B.R. at 674

         (describing the agreements in question as “Joint Venture Agreements” that provided, among other

         things, that “all monies received are to be held in trust until distributed in accordance with this

         participation agreement” and concluding that the agreements “more closely resemble a mortgage

         participation,” but refusing to “mechanically apply 541(d)” due to fraud (emphasis added and

         internal quotations omitted)); Rothenberg, 2015 WL 10663413, at *1, *17 (describing “financing

         agreements with the Debtor labeled as ‘participation agreements’” and (i) reversing grant of

         summary judgment that certain participation agreements were true participations due to ambiguity

         created by conflicting contractual terms that could not be resolved at summary judgment and (ii)

         reversing grant of summary judgment and finding that a separate participation agreement was a

         true participation); In re Sackman Mortg. Corp., 158 B.R. at 933-935, 938 (describing the

         agreement in question as a “Construction Loan Participation Agreement” and stating that the


         143
               See Part II above.
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         “transaction loudly hints that the parties intended to structure a lending relationship and not a

         participation” but declining to grant summary judgment due to unresolved factual issues).144

                   C.       The Bidding and Auction Procedures Should Be Approved

                            91.      Colchis complains about the pooling of the Underlying Loans for purposes

         of the Bid Procedures because, among other reasons, it means it cannot bid on the loans it invested

         in. As Colchis knows, the “pooling” of the Underlying Loans for purposes of the Bid Procedures

         is merely putting like-kind assets with like-kind assets as a means to maximize the value of the

         entire pool. Bidders are more likely to be attracted to a specific asset subclass (i.e., performing,

         non-performing, REO, etc.) rather than a “mixed bag.” Pooling of the Underlying Loans is also

         necessary because the Debtors simply won’t have the resources to close on dozens of sales – they

         simple lack the human resources to do so. Pooling of mortgage assets as a means of maximizing

         value has been utilized in this Court in other mortgage sale cases. See In re American Home

         Mortgage, Case No. 07-11047 (CSS) (April 10, 2009) [D.I. 7258] (approving bidding procedures

         that pooled mortgage loans and REO properties into four asset pools and required bid submissions

         on entire asset pools on a loan-by-loan basis).145 And, the same multi-pool process is used by the

         Government National Mortgage Association, Bank of America, N.A., the Federal National

         Mortgage Association, and the Federal Housing Administration, when selling large distressed

         pools of mortgage assets.146


         144
               In Lendvest Mortgage, the issue was whether a transaction whereby the “note [made to the debtor by a mortgagor
               was] assigned as security for the loan” was a loan and not a sale. 119 B.R. 199, 201 (B.A.P. 9th Cir. Aug. 3,
               1990). There was no suggestion by the Court or the parties that the collateral assignment of the mortgage note
               created a participation in the mortgage.
         145
               In American Home Mortgage, the debtors similarly explained that selling the asset pools would create the greatest
               likelihood of obtaining the maximum return. The American Home Mortgage Sale Order is attached hereto as
               Exhibit 25.
         146
               See Laurie Goodman & Dan Magder, Selling HUD’s Nonperforming Loans: A Win-Win for Borrowers,
               Investors, and HUD, Urban Institute: Housing Finance Policy Center, 2, 4 (2016)
               https://www.urban.org/sites/default/files/publication/76626/2000568-Selling-HUD-s-Nonperforming-Loans-A-
               Win-Win-for-Borrowers-Investors-and-HUD.pdf (explaining how the sale of distressed pools of mortgages
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                          92.      Colchis’s complaint that the pooling prevents individual MPDN holders

         from bidding on the Underlying Loans it has invested in makes little sense. First, as discussed in

         detail above, all of the MPDNs allow the Debtors to sell the Underlying Loans without the MPDN

         holders’ consent; there was never any assurances the MPDN holders would even have an

         opportunity to bid on the Underlying Loans. But more fundamentally, the Debtors believe Colchis

         has ulterior motives here. Colchis is not looking out for the interests of the individual investors

         by raising this point. As Colchis is aware, it has a fractional interest in many of the Underlying

         Loans. There are other fractional investors in those same Underlying Loans. Colchis – a multi-

         billion dollar financial firm – wants the right to use its economic might to bid on all of the

         Underlying Loans in which it has a fractional interest and to pay as little as possible for those

         Underlying Loans at the expense of the other fractional investors in those Underlying Loans. This

         is antithetical to maximizing value and the Court should reject it.

                          93.      The Debtors have set forth a comprehensive bidding process that was

         designed pursuant to the advice of a leading expert in this industry with the goal of maximizing

         the value of the assets. Placing the assets in asset pools is not unique to these chapter 11 cases and

         has proven to be successful in other large mortgage loan sale cases. Colchis may not agree with

         the Debtors’ proposed process, but the crux of the objection on this front – commingling of assets

         – is entirely without merit, is not founded in reality, and should be overruled on the merits.

                  D.      The Expense Reimbursement Should Be Approved

                          94.      In support of the proposed Expense Reimbursement, the Debtors have filed

         Declaration of Charles K. Smith in Support of the Debtors’ Motion for Approval of Bid Procedures




              maximized returns for the Department of Housing and Urban Development, parent agency of the Federal Housing
              Administration);.
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         (the “Smith Declaration”) [Docket No. 256] and rely thereon as the evidentiary support for the

         Expense Reimbursement. The Debtors note that Colchis appears not to understand the Expense

         Reimbursement. Colchis claims the Debtors are offering “expense reimbursement to 15+ second

         round bidders . . .” and that it would “likely be far less expensive for the Debtors to retain a due

         diligence firm upon which bidders could rely . . . .”147 There would not be “15+” Expense

         Reimbursements. There are 6 asset pools, with 3 second round bidders per pool and the Expense

         Reimbursement will be available to the 2 losing bidders. That is a maximum of 12 potential

         Expense Reimbursements. Colchis has not proffered how much a third-party due diligence firm

         would cost, but the Debtors estimate the maximum Expense Reimbursements paid, assuming all

         of them are allowed at the maximum amount, would be approximately $256,000. Furthermore,

         unlike a typical Expense Reimbursement approved in a chapter 11, the Debtors will retain

         discretion to approve them, will require documentary evidence of said expenses, and the Bid

         Procedures require anyone claiming the Expense Reimbursement to have submitted a good faith

         Round 2 Bid as determined by the Debtors. These protections will ensure that any Expense

         Reimbursement that is actually paid has been properly vetted and scrutinized. They were also

         approved by the bidding procedures order cited above in In re American Home Mortgage, Case

         No. 07-11047 (CSS) (April 10, 2009) [D.I. 7258].

                   E.       Colchis’s Other Arguments

                            95.        Colchis’s remaining arguments can be addressed in short order. First,

         Colchis makes a bold accusation that the Debtors’ proposed Bid Procedures somehow inevitably

         lead to substantive consolidation of PSFLLC with the other Debtors. Not only is there zero

         mention of substantive consolidation in the Bid Procedures, but the Debtors and their counsel have


         147
               Colchis Obj. ¶ 36-37.
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         repeatedly explained to Colchis that there is no intent to substantively consolidate the Debtors. To

         the extent Colchis believes the Debtors have an ulterior motive, Colchis’s concerns can be put to

         rest on this front.

                           96.   Second, Colchis complains that “only a fraction of the loan files have been

         made available to bidders for due diligence.”148 The Debtors, working together with Piper Sandler,

         have placed loan files into the data room that are appropriate for the first round of bidding. The

         Debtors are working within their operational limits given a recent prepetition reduction in force,

         and used their business judgment as well as relied on the advice of counsel and Piper Sandler to

         ensure that the appropriate loan files are in the data room for purposes of round one bidding.

         Colchis’s complaints on this front are without any basis; notably, Colchis does not attempt to

         explain what other files it seeks or needs access to in order to put forth a qualified bid (to the extent

         it chooses to do so).

                           97.   Third, Colchis’s concerns with respect to the sale of loans on an “as is-

         where is” basis are unclear. Instead, the Debtors are expressly and unambiguously selling the

         mortgage loans on an as is-where is basis, and bidders will be fully apprised of this when bidding.

         The only claims the Underlying Loans are being sold free and clear of are claims against the

         Debtors or their assets.

                           98.   Fourth, the Debtors have not yet posted qualified bid forms because the Bid

         Procedures have not yet been approved. A qualified bid form has been prepared, reviewed with

         the Creditors’ Committee advisors, and will be made available promptly upon the approval of the

         Bid Procedures. Lastly, Colchis’s complaint about the asset purchase agreements not yet being




         148
               Id. ¶ 1.
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         available are moot, given that the Debtors posted those asset purchase agreements and filed a notice

         to that effect on August 2, 2023 [Docket No. 172 & 173].

                   F.        The Remaining Bid Procedures Objections149

                                   a. Jax

                             99.      The Jax Objection is moot because the properties and loans at issue therein

         are not a part of the pending sale process.

                                   b. Mr. Quinn

                             100.     Mr. Quinn’s Motion to Appoint Counsel to Serve Interests of Secured Note

         Holders and Delay Hearing on Debtors’ Motion to Schedule a Hearing on the Approval of Sale

         [Docket No. 107] (the “Quinn Objection”) raises several issues directly related to the Debtors’

         Bid Procedures.150 Mr. Quinn takes issue with the fact that the Debtors’ Bid Procedures “call for

         a sale of notes only, and do not even contemplate the Servicer Solution . . . .”151 In other words,

         Mr. Quinn believes that the Debtors’ best opportunity to maximize value for the MPDN holders is

         not through a sale, but through an alternative transaction, such as a sale of PSFI’s mortgage

         servicing business to another skilled loan servicer in exchange for consideration to the Debtors’

         estates (the “Servicer Solution”).

                             101.     Mr. Quinn and the Debtors share a similar goal – to maximize value for the

         Debtors’ estates. While the Debtors’ Bid Procedures do contemplate a sale of the Underlying

         Loans, the Debtors are also considering alternative transactions on a parallel track to ensure that



         149
               The Debtors believe that the issues raised by the letters retail investors submitted on the Court’s docket, listed in
               the chart attached hereto as Exhibit 26, are addressed herein.
         150
               Mr. Quinn’s arguments with respect to the appointment of counsel to represent retail account holders will be
               addressed by the Debtors’ response to Mr. Quinn’s motion for the appointment of a “Secured Creditor
               Committee,” filed at D.I. 187, which will be filed at a later date. The Debtors reserve all rights with respect to
               Mr. Quinn’s request for the appointment of counsel.
         151
               Quinn Obj. at 2.
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         all potential sale options are considered. Upon its conclusion, the Debtors’ sale process will have

         tested the market and yielded an opportunity, whether as a sale through the Bid Procedures or via

         an alternative transaction that maximizes value for all stakeholders, including the MPDN holders.

         Accordingly, if the Debtors receive a value-maximizing proposal that is superior to a sale of the

         mortgage loans, the Debtors will consider any such proposal received and choose the option that

         realizes the highest and best value for the Debtors’ estates and their stakeholders, in consultation

         with the committee.

                         102.   Mr. Quinn also argues that the Debtors’ approach in the Chapter 11 Cases

         will be harmful to MPDN holders and other similarly situated parties. One of the paramount goals

         in the Chapter 11 Cases is to safeguard and protect the rights of the MPDN holders and all other

         stakeholders. The Debtors’ efforts on this front have been (and continue to be) extensive. The

         Debtors have continued to service the loans underlying the MPDNs in the ordinary course of their

         business and have preserved value in any REO properties that have been acquired. The Debtors

         are confident that the interests of the MPDN holders are protected not only by the Debtors’ own

         efforts, but also by the Committee’s supervision over the Debtors’ operations during the Chapter

         11 Cases. Accordingly, the value of the underlying mortgage loans – and the collateral securing

         them – is being preserved such that the MPDN holders will be minimally prejudiced by these

         proceedings.

                         103.   Mr. Quinn also makes reference to the MPDN holders being “secured”

         creditors and argues that the Debtors have not explained which section of 363(f) the proposed sale

         will satisfy. As articulated above, the MPDN holders are unsecured creditors and, accordingly,

         any sale “free and clear” will not affect the MPDN holders. To the extent necessary, the Debtors

         intend to address the section 363(f) requirements when they seek approval of the sale.


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                        104.    Lastly, Mr. Quinn alludes to the fact that PSFLLC’s Special Member has

         not advocated for the Servicer Solution. The Debtors have addressed these issues above.

                        105.    For the foregoing reasons, the Debtors respectfully request that the Court

         overrule the Quinn Objection.

                            c. Mr. Tarpenning

                        106.    Mr. Tarpenning is a serial litigant against the Debtors. He is not a customer

         or investor of the Debtors. Rather, Mr. Tarpenning is a guarantor of certain mortgage loans under

         which certain of his affiliated entities were or are borrowers.

                        107.    His objection appears to relate to property located at 440 East 63rd Street,

         Kansas City, Missouri (the “Kansas City Property”) previously owned by US Real Estate Equity

         Building LLC, whose principal was formerly Mr. Tarpenning.                 On October 2, 2020,

         Mr. Tarpenning filed chapter 11 bankruptcy petitions for US Real Estate Equity Building LLC

         and its affiliate, US Real Estate Equity Builder Dayton LLC (together, “USREEB”), in the District

         of Kansas (Case No. 20-21358) (the “USREEB Bankruptcy”). On November 23, 2020, the

         Office of the United States Trustee moved to remove Mr. Tarpenning as USREEB’s principal and

         appoint a chapter 11 trustee. Among the bases for the U.S. Trustee’s request were (a) that

         Mr. Tarpenning was co-mingling debtor and non-debtor funds, (b) under Mr. Tarpenning’s

         management, the debtors were using the lender’s cash collateral without consent of the lender or

         court approval, (c) the debtors were facing federal and state securities investigations based on

         misstatements Mr. Tarpenning may have made, and (d) “Tarpenning’s corporate connections and

         insider dealings cast doubt on his trustworthiness and capabilities as a fiduciary and manager.

         Relevant assets and items are not disclosed on the debtors’ schedules, which Tarpenning signed

         under penalty of perjury. And at the § 341 meeting of creditors, Tarpenning was unable or

         unwilling to explain his interests in and dealings with other companies, some of which are owned
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         or controlled by insiders or close associates.”152 The U.S. Trustee’s motion was joined by the

         creditors’ committee and individual creditors. On December 1, 2020, the Court granted the U.S.

         Trustee’s motion over USREEB’s objection and on December 2, 2020, Eric L. Johnson was

         appointed chapter 11 trustee.153

                            108.      The Debtors acquired the Kansas City Property free and clear of all liens,

         claims, and encumbrances in the USREEB Bankruptcy over Mr. Tarpenning’s objection in July

         2022.154 Attached as Exhibit L to the Tarpenning Objection is the trustee’s deed pursuant to which

         Mr. Johnson, the chapter 11 trustee, conveyed the Kansas City Property to Debtor PSF Texas 1,

         LLC pursuant to the USREEB Sale Order. The Kansas City Property constitutes one of the

         Debtors real estate owned (REO) properties that, as described in the Dunn Declaration, the Debtors

         continue to market and sell in the ordinary course of their business.155 The Kansas City Property

         is currently under contract for sale and will likely close before the proposed sale process is

         completed, rendering Mr. Tarpenning’s objection to the Bid Procedures Motion moot.

                            109.      On or about July 24, 2023, Mr. Tarpenning filed a lis pendens against the

         Kansas City Property in Missouri state court thereby clouding titled in clear violation of the

         automatic stay and the provisions of the USREEB Sale Order. The Debtors have demanded that

         Mr. Tarpenning remove the lis pendens but to date, he has ignored the Debtors’ demands.


         152
               Exhibit 27, U.S. Trustee Motion at 2, ¶ 4.
         153
               One of Mr. Tarpenning’s other entities – 1 Big Red LLC – separately filed chapter 11 in Kansas on January 15,
               2021 (the “Big Red Bankruptcy”). The subsequently appointed chapter 7 trustee in the USREEB Bankruptcy
               moved to convert the Big Red Bankruptcy to a chapter 7 arguing, “it appears the real purpose for filing a
               liquidating plan and disclosure statement was not to conduct an orderly liquidation but in fact to allow the statute
               of limitations to expire so any causes of action for preferences would be extinguished by the debtor’s manipulation
               of the delay in filing the disclosure statement and liquidating plan.” In re: 1 Big Red, LLC, Ch. 11 Case No. 21-
               20044 (Bankr. D. Kansas) [Docket No. 457], at 3. On December 28, 2022, the court granted the conversion
               motion.
         154
               A copy of the applicable sale order is annexed hereto (without exhibits) as Exhibit 28 (the “USREEB Sale
               Order”).
         155
               Exhibit 1, Dunn Decl. ¶ 33.
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               REPLY TO THE COLCHIS OBJECTION TO CASH MANAGEMENT MOTION

                            110.       The Peer Street Notes and applicable participation agreements make clear

         that the costs incurred by Peer Street in connection with liquidating the Underlying Loans can be

         paid from the proceeds of the Underlying Loans. First, under each participation agreement, PSFI

         is entitled to deduct from any payments payable to Funding LLC, Portfolio LLC and the

         Warehouse Entities on account of the participation interests they own all of its “reasonable

         expense, cost, advance or other amount incurred by [PSFI] in connection with the administration

         or collection of the Loans.”156

                            111.       Second, under the terms of the MPDNs and RWNs, the holders agreed that

         prior to payment on the applicable notes, the issuers would be entitled to receive payment of

         amounts advanced by the issuer “when, in its sole and absolute discretion, it determines in good

         faith that making these advances will ultimately be the most effective course of action,”157

         including “with respect to the returns on an Underlying Loan.” And the holders of the PDNs

         agreed, that Portfolio LLC would “be entitled to reimbursement from any proceeds of the

         Underlying Loans and Underlying Participations for all fees, costs and expenses actually incurred

         by the Company or any of its affiliates in connection with the management of the Company’s

         assets and its operations, except for the Standard Fee.”158


         156
               See Exhibit 8, Funding LLC Participation Agreement § 4.2; Exhibit 9, Portfolio LLC Participation Agreement §
               4.2; Exhibit 6, Warehouse I Participation Agreement § 4.2; Exhibit 7, Warehouse II Participation Agreement §
               4.2.
         157
               Exhibit 21, PDN Suppl. at Cover Page 6; see also id. at Exhibit A (Form of Note § 3.6) (“As set forth in the
               Memorandum and the PDN Supplement, the Company may, at its sole discretion, advance any and all amounts
               necessary to protect its interest in the Underlying Loans, including (without limitation) foreclosure fees and
               related costs as well as payments necessary to pay property taxes, senior liens, junior liens, and other fees and
               costs the Company deems necessary to protect its position in the Underlying Loans (the “Company’s Advances”).
               Any amounts paid to the Company under the Underlying Loans shall be payable first to the Company to recoup
               the Company’s Advances and any fees and costs allowed to be charged under the Memorandum and the PDN
               Supplement.”).
         158
               Id.. at Cover Page 6.
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                            112.     Thus, Colchis’s argument that the Debtors cannot allocate costs incurred in

         liquidating the loan portfolio to proceeds received from the Underlying Loans is doubly-wrong.

         Colchis’s arguments concerning the determination of the quantum of those costs also lacks any

         support in underlying documents. PSFI is entitled to charge all of its “reasonable” costs, and the

         notes issuers (i.e., Funding LLC and Portfolio LLC) are entitled to collect any amount that they

         expend for what they determine in good faith, but otherwise in their sole and absolute discretion,

         to be the most effective course of action for the issuers, including with respect to returns on the

         Underlying Loans. In the absence of any actionable alternative, and Colchis has not come forward

         with any such proposal, the notes issuers concluded that these chapter 11 cases were the most-

         effective course of action to realize the value of the Underlying Loans and satisfy the claims of the

         noteholders. Colchis’s repeated references to bankruptcy remoteness are also a red-herring.

         Bankruptcy remoteness is a tool designed to insulate assets from the claims of creditors of other

         entities. It is not a means to insulate creditors of so-called bankruptcy remote entities to pay for

         the costs of administering and reducing to cash the assets that such creditors are to be paid from.

         Indeed, the language from Peer Street’s website that Colchis relies on only goes far enough to

         make the point that the assets and creditor bodies are separate159—and Peer Street has not proposed

         any relief that would require the Court to disregard that separateness. Peer Street, however, is

         amenable to the following two modifications to the Cash Management Order:

                               i.    First, no cash held in Funding LLC’s bank accounts or held by PSFI from
                                     the collection of principal and interest associated with the Underlying Loans
                                     will be used absent further order of the court. While this cash is owned by
                                     the Debtors, and not by the holders MPDNs as Colchis erroneously
                                     contends, the Debtors are prepared to fund the chapter 11 cases using other
                                     cash on-hand.


         159
               Cf. Colchis Obj. ¶¶ 1, 6, 11 (quoting Peer Street’s website as stating in an FAQ response: “Investments in loans
               are held in a bankruptcy-remote entity that is separate from our primary corporate entity.”).
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                           ii.   Second, the allocation and settlement of claims arising from post-petition,
                                 intercompany transactions will be subject to final Court-approval following
                                 a motion or pursuant to a chapter 11 plan. At bottom, Colchis does not deny
                                 that the cost of liquidating the Underlying Loans (whatever manner that is)
                                 should be paid from the amounts collected thereon. It just takes issue with
                                 what the Debtors believe is an appropriate amount of costs, including the
                                 allocation of common costs. Colchis, however, fails to acknowledge that at
                                 this stage of the Debtors’ existence, substantially all of the Debtors’
                                 business activities involve administering the Underlying Loans. Giving
                                 effect to this reality totally refutes the suggestion by Colchis that the costs
                                 of the Debtors’ bankruptcies, which were commenced to liquidate the
                                 Underlying Loans, wind-down the Platform, and provide recoveries to
                                 investors in Peer Street’s products (the overwhelming amount of which are
                                 dollars invested in MPDNs), are being disproportionately allocated to
                                 amounts recovered by Funding LLC. However, the manner in which those
                                 amounts are charged can be finally adjudicated at the conclusion of these
                                 cases.

                                                   CONCLUSION

                         WHEREFORE, the Debtors request that the Court overrule the Objections and

         enter the Bidding Procedures Order and Final Cash Management Order, granting the relief

         requested in the Bid Procedures Motion, the Cash Management Motion and such other and further

         relief as is just and proper.

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Dated: August 17, 2023

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